Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 1 of
                                      89




                              EXHIBIT A
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 2 of
                                      89




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No.: 20-cv-01153-PAB-KLM

(Consolidated with Civil Actions Nos. 20-cv-01340-RM-RNR; 20-cv-01518-NRN; 20-cv-
01689-STV; 20-cv-01751-MEH; and 20-cv-01837-SKC)

In re: FRONTIER AIRLINES LITIGATION


           AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
______________________________________________________________________________

       Plaintiffs Nelcy Alexa Rivera-De Leon, Stephanie Muters, Shirley Johnson, Jeffrey Bone,

ChaCha Powell, Danielle Porreca, and David Dickstein, and Kelli Capra (collectively,

“Plaintiffs”), individually and on behalf of all others similarly situated, bring this action against

Defendant Frontier Airlines, Inc. (“Defendant” or “Frontier”), through their attorneys, and allege

as follows based on information and belief, except as to allegations specifically pertaining to

Plaintiffs, which are made upon personal knowledge:

                                        INTRODUCTION

       1.      The COVID-19 pandemic severely reduced the opportunity and ability to travel for

many Americans, both financially and physically. Due to reduced flight demand, airlines,

including Frontier, slashed flight schedules and cancelled thousands of flights, to avoid incurring

losses caused by operating flights well-below maximum capacity.

       2.      Frontier’s contract of carriage (“Contract of Carriage”), attached hereto as Exhibit

A, expressly and clearly provides that if Frontier cancels a flight, it shall “provide a refund for the

unused portion of the passenger’s ticket.”1



1
 Plaintiffs have attached version 72 of the Contract of Carriage. Frontier has represented that
this version was in effect from October 25, 2019 until April 16, 2020.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 3 of
                                      89




       3.      Despite its contractual obligation in its Contract of Carriage, Frontier refuses to

issue monetary refunds to passengers whose flights it cancelled.

       4.      The U.S. Department of Transportation (“DOT”)—through regulations that

Frontier expressly incorporated into its Contract of Carriage—has long required airlines like

Frontier to issue refunds whenever they cancel flights. According to an enforcement notice issued

by the DOT on April 3, 2020, carriers like Frontier have a “longstanding obligation . . . to provide

a prompt refund to a ticketed passenger when the carrier cancels the passenger’s flight or makes a

significant change in the flight schedule and the passenger chooses not to accept the alternative

offered by the carrier.”

       5.      The “longstanding obligation” regarding refunds is set forth in the Code of Federal

Regulations. Specifically, consumers are entitled to refunds whenever their carrier cancels their

flight. 76 Fed. Reg. 23110-01, at 23129 (Apr. 25, 2011) (“Since at least the time of an Industry

Letter of July 15, 1996 . . . the Department’s Aviation Enforcement Office has advised carriers

that refusing to refund a non-refundable fare when a flight is cancelled and the passenger wishes

to cancel is a violation of 49 U.S.C. 41712 (unfair or deceptive practices) and would subject a

carrier to enforcement action.”).

       6.      According to the DOT, this refund obligation applies regardless of whether the

cancellation arises from circumstances beyond the carrier’s control: “[t]he focus is not on whether

the flight disruptions are within or outside the carrier’s control, but rather on the fact that the

cancellation is through no fault of the passenger.”

       7.4.    The federal government bailed out the airline industry through the Coronavirus Aid,

Relief, and Economic Security Act (“CARES”), providing approximately $58 billion in aid,




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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 4 of
                                      89




including approximately $211 million to Frontier alone. But despite receiving over $200 million

from taxpayers, Frontier decided to impose the consequences of the pandemic on its customers.

        8.5.    Instead of fulfilling its obligations under federal law and honoring its passengers’

contractual rights, Frontier has engaged in various schemes and contrivances to avoid its obligation

to provide refunds.

        9.6.    Frontier’s goal has been to ensure that passengers only receive travel credits that

expire in 90 days or limited travel vouchers rather than refunding any money for tickets for

cancelled flights and trips never taken. Given the pandemic, for the vast majority of passengers, a

90-day travel credit was unusable and worthless. Frontier also drastically cut back on routes and

flight capacity, thus further limiting the use of any travel credits.

        10.7.   Rather than provide passengers with refunds for flights that Frontier itself

cancelled, Frontier instead rebooked customers on non-comparable flights, and sent misleading

emails offering travel credits and vouchers that duped passengers into purportedly forgoing their

right to a refund. These solicitations failed to meaningfully disclose that any travel credits would

expire in 90 days.

        8.      In a further scheme to evade its obligations, Frontier often waited as long as

possible prior to departure to cancel a flight. By accepting Frontier’s offer, and cancelling their

flights in exchange for credits without an expiration date, Frontier novated a new contract with the

passengers to provide them with flight credits that do not expire.

        11.9.   Instead of cancelling the flight and issuing refunds, Frontier emailed passengers

ticketed on flights that Frontier intended to cancel, and encouraged those passengers to

preemptively cancel their flights in exchange for travel credit and an additional travel voucher.

Frontier failed to disclose that if those passengers simply waited for Frontier to cancel their flights,



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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 5 of
                                      89




Frontier was legally obligated to provide them with a full monetary refund. Frontier also

repeatedly failed to disclose that travel credits would expire in 90 days until after the consumer

had already cancelled the reservation. Through its misstatements and omissionscommunications,

Frontier duped its customers into allowing Frontier to avoid its refund obligations while providing

only useless travel credits that expired before Plaintiffs and the Class could use them.

        12.10. Throughout this time, Frontier’s customer service has been completely inadequate,

as consumers have reported their calls being disconnected, hold times frequently exceeding an

hour, and customer service representatives providing confusing and conflicting information.

Customers frequently have not been able to contact Frontier to discuss their options or obtain

reliable information regarding their rights.

        13.11. Accordingly, Plaintiffs bring this Complaint on behalf of themselves and similarly

situated Frontier passengers to obtain relief from Frontier.

                                  JURISDICTION AND VENUE

        14.12. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§ 1332(d)(2), the Class Action Fairness Act of 2005, because: (i) there are 100 or more Class

members, (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of

interest and costs, and (iii) there is minimal diversity because at least one class member and

defendant are citizens of different States.

        15.13. This Court has personal jurisdiction over Frontier because it is headquartered in

this judicial district.

        16.14. Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391 because

Defendant is headquartered in this District, transacts business in this District, is subject to personal




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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 6 of
                                      89




jurisdiction in this District, and therefore is a citizen of this District, and because a substantial part

of the events or omissions giving rise to the claims occurred in this District.




                                               PARTIES



Plaintiffs

        17.     Plaintiff Nelcy Alexa Rivera-De Leon is a resident of Florida. On December 16,

2019, Plaintiff Rivera-De Leon purchased four tickets to fly round-trip on Frontier between

Tampa, Florida and San Juan, Puerto Rico on March 13, 2020 and March 20, 2020. Plaintiff

Rivera-De Leon booked her flights directly through Frontier and paid approximately $483.00 for

her Frontier tickets for a family vacation, which was to include her husband, Roger Zehr, and two

minor children. On or about March 12, 2020, Roger Zehr—who is in the U.S. Military—was

advised that, effective March 13, 2020, he was prohibited from non-military travel for 60 days due

to COVID-19 restrictions. When Plaintiff Rivera-De Leon learned that her husband would be

unable to travel, she immediately cancelled her trip through a phone call with Frontier.

        18.     Upon cancelling her Frontier trip, Plaintiff Rivera-De Leon was advised by Frontier

that she would only receive a credit toward a future trip rather than a refund of the purchase price,

and that she had until June 11, 2020 to use those credits. Plaintiff Rivera-De Leon informed

Frontier that, due to a decision by the U.S. Military to prohibit members of the U.S. Military from

non-official travel, she and her husband would be unable to travel in the near future. Further,

Plaintiff Rivera-De-Leon informed Frontier that she would be unable to travel in the near future




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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 7 of
                                      89




because her son was high-risk for COVID-19 due to a previous cancer diagnosis. Plaintiff Rivera-

De Leon, therefore, requested a full monetary refund instead of travel credits, but Frontier refused.

       19.     Frontier ultimately cancelled Plaintiff Rivera-De Leon’s return flight from San

Juan, Puerto Rico to Tampa, Florida. Plaintiff Rivera-De Leon could not apply her flight credits

by June 11, 2020 because of ongoing restrictions imposed by COVID-19. Plaintiff Rivera-De Leon

contacted Frontier multiple times, but Frontier refused to provide a refund.

       20.     Given the unforeseeable circumstances caused by the pandemic, Plaintiff Rivera-

De Leon would have never booked her flights with Frontier had she known that Frontier would

not give her a refund.

       21.     Plaintiff Stephanie Muters is a resident of New York. On or about February 24,

2020, Plaintiff Muters purchased two airline tickets for herself and her daughter to fly round-trip

on Frontier between Syracuse, New York and Tampa, Florida on April 5, 2020 and April 13, 2020,

respectively, paying $849.60. Plaintiff Muters booked her flights directly through Frontier.

       22.     Plaintiff Muters is employed as a civilian by the U.S. Department of Defense.

Plaintiff Muters’ daughter is health-compromised and susceptible to COVID-19. On or about

March 12, 2020, Plaintiff Muters was advised that, effective March 13, 2020, she was prohibited

from non-military travel for 60 days.

       23.     On or about March 17, 2020, Plaintiff Muters received an email from Frontier

recommending that she cancel her flights in exchange for a “bonus” $50 voucher per passenger on

a new booking.

       24.     On or about March 22, 2020, the Governor of New York issued a stay-at-home

order to New York residents that was extended through May 28, 2020. On or about March 23,

2020, the Governor of Florida issued an Order requiring people flying to Florida from New York



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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 8 of
                                      89




or New Jersey to undergo a 14-day quarantine. On or about March 19, 2020, Plaintiff Muters

cancelled her trip on Frontier as a result of these circumstances.

       25.     Upon cancelling her trip, Plaintiff Muters was advised by Frontier that she would

only receive a credit toward a future trip rather than a refund of the purchase price, and that she

had until June 17, 2020 to apply the credits she received for cancelling her flight. Frontier

ultimately cancelled the flights on which Plaintiff Muters was scheduled to travel. Plaintiff Muters

could not apply her flight credits by June 17, 2020, because of both ongoing restrictions imposed

by COVID-19 and the fact that she is uncertain when her health compromised daughter will be

able to travel again.

       26.     Given the unforeseeable circumstances caused by the pandemic, Plaintiff Muters

would have never booked her flights with Frontier or agreed to cancel her flights had she known

that that Frontier would not give her a refund.

       Shirley Johnson

       27.15. Plaintiff Shirley Johnson is a New Jersey citizen residing in Willingboro, New

Jersey. On or around February 27, 2020, Ms. Johnson purchased an airline ticket directly from

Frontier online for $797.83. She purchased airfare for a round-trip flight from Philadelphia,

Pennsylvania to Orlando, Florida departing April 18, 2020 and returning April 25, 2020.

       28.16. On April 8, 2020, Frontier emailedsent multiple emails requesting that Ms. Johnson

cancel her reservation, which she did, and offered a travel credit. Frontier did not adequately

disclose that the credit would expire within 90 days. A few days later, Frontier cancelled her flight.

Ms. Johnson then requested that her credit be converted to a refund, but Frontier refused to do so.




                                                  7
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 9 of
                                      89




       29.17. Given the unforeseeable circumstances caused by the pandemic, Plaintiff Johnson

would have never booked her flight with Frontier had she known that that Frontier would not give

her a refund.

       Jeffrey Bone

       30.18. Plaintiff Jeffrey Bone is a resident of St. Louis, Missouri. In February 2020,

Plaintiff Bone booked a flight to attend his brother’s wedding for himself and his wife from St.

Louis to Cancun, Mexico with a departure date of July 28, 2020. Plaintiff purchased through

Frontier’s website, paying $1,352.72.

       31.19. In or around JuneMay 28, 2020, Frontier cancelled his flights. Plaintiff Bone

requested that Frontier provide him a refund for his flight and tried calling Frontier only to be put

on hold for nearly an hour. Upon receiving Plaintiff’sPlaintiff Bone’s request, Frontier claimed

that Plaintiff Bone purportedly accepted a “schedule change through email” and only offered him

a 90-day travel credit that has since expired and a $50 travel voucher per passenger. Frontier also

later claimed that Plaintiff Bone purportedly had accepted a “full travel credit.”

       20.      Plaintiff Bone did not knowingly accept either a “schedule change” or a “full travel

credit.” To Plaintiff Bone’s knowledge, Frontier never rebooked him on alternate flights. He also

did not knowingly forfeit his right to a refund.

       21.      Because of flight cancellations, Frontier could not provide comparable flights that

would allow Plaintiff Bone to attend his brother’s wedding. Indeed, Frontier cancelled flights

from St. Louis to Cancun every day or nearly every day from April through July 2021, and during

the beginning of August 2021, including every day of Plaintiff Bone’s brother’s wedding

celebration.    Frontier did not provide Plaintiff Bone with alternative transportation to the

destination and Plaintiff Bone did not travel to Cancun.



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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 10
                                    of 89




       32.22. Given the unforeseeable circumstances caused by the pandemic, Plaintiff Bone

would have never booked his flights with Frontier had he known that Frontier would not give him

a refund.

       Danielle Porreca

       33.23. Plaintiff Danielle Porreca is a resident of Philadelphia, PA. On or around December

20, 2019, Plaintiff booked directly through Frontier a flight leaving on May 13 2020 from

Philadelphia to Las Vegas for her and another passenger. She paid $604.20 out-of-pocket for the

trip and used a $25 voucher.

       34.24. In March 2020, Frontier emailedsent multiple emails requesting that Plaintiff

Porreca cancel her reservation, which Plaintiff did. Plaintiff was told after cancelling that she

would receive only a 90-day travel credit. Plaintiff Porreca has since requested a refund and has

been refused. Her travel credit has also expired. Frontier ultimately cancelled her flight from

Philadelphia to Las Vegas.

       35.25. Given the unforeseeable circumstances caused by the pandemic, Plaintiff Porreca

would have never booked her flights with Frontier had she known that Frontier would not give her

a refund.

       36.     Plaintiff ChaCha Powell is a resident of Jersey City, New Jersey. In February and

March 2020, she booked a few trips through Frontier’s website to Jacksonville, Florida, and

Atlanta, Georgia paying around $575.40.

       37.     Frontier sent Plaintiff various emails encouraging her to cancel her reservations and

Frontier cancelled at least one of her flights. Plaintiff has requested a refund for her flights, but

Frontier refused, claiming Plaintiff accepted a 90-day travel credit via email.




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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 11
                                    of 89




       38.     Given the unforeseeable circumstances caused by the pandemic, Plaintiff Powell

would have never booked her flights with Frontier had she known that Frontier would not give her

a refund.

       David Dickstein

       39.26. Plaintiff David Dickstein is a resident of Lafayette, California. In January 2020,

from his home in California, Plaintiff Dickstein booked a red-eye direct, non-stop flight from Las

Vegas to Orlando, FL to depart on March 29, 2020 directly through Frontier using Frontier’s

website and paid $227.20.

       40.27. On March 28, 2020, Frontier cancelled Plaintiff Dickstein’s flight and rebooked

him on a flight that was not direct but connected through Chicago with an overnight stay. Due to

the rebooking, Plaintiff Dickstein’s arrival in Orlando would have been most likely been more than

12 hours later than the original booking and thereby have deprived him of a full day of his trip.

       28.     Plaintiff DicksteinA 12-hour modification is a significant change of the flight

schedule. No reasonable interpretation of the Contract would permit Frontier the discretion to

determine that a 12-hour modification was insignificant.

       41.29. Because the 12-hour modification to Plaintiff Dickstein’s original flight schedule

was a significant change, he attempted to call Frontier to discuss the issue but was unable to reach

customer service at all as he could not get a call through. Plaintiff Dickstein did not want to “no-

show” his flight, so he cancelled his rebooked reservation and requested a refund. Frontier refused

and provided Plaintiff Dickstein with a 90-day travel credit which has expired.

       30.     By cancelling the rebooked reservation that Frontier booked Plaintiff Dickstein on,

he rejected the alternative method of travel offered by Frontier. By doing so and requesting a

refund, Plaintiff Dickstein triggered Frontier’s obligation under the Contract to provide him a



                                                10
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 12
                                    of 89




refund for the cost of his original ticket. However, Frontier refused both Plaintiff Dickstein’s

request and to comply with its contractual obligation, thereby breaching the Contract.

          42.31. Given the unforeseeable circumstances caused by the pandemic, Plaintiff Dickstein

would have never booked his flight with Frontier had he known that Frontier would not provide a

refund.

          43.    Plaintiff Kelli Capra is a resident of Colorado. On or about January 28, 2020,

Plaintiff Capra booked flights for her and her family members through Frontier’s website from

Denver to Puerto Vallarta, totaling $5,132.75.

          44.    In March 2020, due to the travel shutdowns caused by the pandemic, Plaintiff Capra

contacted Frontier to cancel her reservations. After multiple phone calls, Plaintiff Capra was told

in writing by a representative of Frontier that she would receive travel credits that were valid

through March 2021. However, when Plaintiff Capra later went to book a flight for her daughter

to return to college, she was told that the travel credits had expired in June 2020.

          45.    Given the unforeseeable circumstances caused by the pandemic, Plaintiff Capra

would have never booked her flights with Frontier had she known that Frontier would not provide

a refund.

Defendant

          46.32. Defendant Frontier Airlines, Inc. is a corporation organized under the laws of the

State of Colorado with a principal place of business at 4545 Airport Way, Denver, Colorado 80239.

                                     FACTUAL ALLEGATIONS

          A.     Frontier Airlines                                                                      Formatted: Indent: Left: 0.5", Hanging: 0.5"

          47.33. Frontier, a low-cost airline, is the eighth-largest commercial airline in the United

States.



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    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 13
                                        of 89




       48.34. Over the past decade, Frontier more than doubled its operating revenue, from $1.1

billion in 2009 to $2.5 billion in 2019.2

       49.35. Between 2015 and 2019, Frontier almost doubled in size by carrying 12.7 million

additional passengers.3

       50.36. In 2019, Frontier operated flights to more than 100 destinations throughout the

United States and 31 international destinations.4

       51.37. Frontier typically operates approximately 300 flights per day.

       B.      The COVID-19 Pandemic                                                                  Formatted: Indent: Left: 0.5", Hanging: 0.5"

       52.38. On March 11, 2020, the World Health Organization reclassified COVID-19 as a

worldwide pandemic. That same night, then -President Trump made a televised address from the

Oval Office during which he announced a moratorium on all flights from Europe (excluding Great

Britain) for 30 days. The President extended that ban to Great Britain the very next day.

       53.39. The President declared a “National Emergency” on March 13, 2020, and, on March

15, 2020, the Centers for Disease Control and Prevention recommended that U.S. residents avoid

gatherings of 50 people or more. The next day, the federal government tightened those guidelines

and recommended avoiding groups of 10 people or more.

       54.40. Despite these efforts, by March 23, 2020, the United States had reported more

confirmed cases of COVID-19 than any other county in the world, and by the end of March, most

governors had declared states of emergency due to COVID-19. State and local officials across the




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      Available      at:    https://www.statista.com/statistics/765504/operating-revenues-frontier-
airlines/#:~:text=Over%20the%20past%20decade%2C%20the,billion%20U.S%20dollars%20in
%202019. (last accessed January 22, 2021).
3
   Available at: https://www.anna.aero/2019/09/20/to-new-lands-the-development-of-frontier-
airlines/ (last accessed January 22, 2021).
4
  Available at: https://www.flyfrontier.com/about-us/ (last accessed January 22, 2021).
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    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 14
                                        of 89




country also issued stay-at-home orders that cancelled public events, banned group gatherings, and

closed schools, restaurants, and retail stores, and prohibited unnecessary travel for weeks, if not

indefinitely.

        55.41. Circumstances did not improve materially in the ensuing months. COVID-19

transmission spiked across the United States with record infection, hospitalization, and death rates.

        56.42. As COVID-19 began spreading across the United States and most of the country

was ordered to take refuge in their homes, demand for air travel plummeted. Passenger volume

dropped by some 97%, reaching levels not seen since the 1950s.

        57.43. In March and April 2020, for instance, demand for travel at one point dipped as low

as five percent capacity compared to 2019.5

        58.44. As a direct and proximate result of the decreased demand for their services, in

March 2020, many airlines, including Frontier, cancelled or rescheduled flights.

        59.45. These cancellations continued into April 2020, when Frontier announced it would

be “cutting more than 90% of flight capacity nationwide in April” and expected to only “be in a

position to gradually build flight capacity back up to as much as 35% in May.”6

        60.46. In May, Frontier was flying only 92 daily flights — —a decrease of 76 percent

from May 2019. More than 40 percent of the airline’s planes were idled.7




5
     Available      at:   https://www.travelpulse.com/news/airlines/colorado-official-asks-dot-to-
investigate-frontier-airlines.html (last accessed January 21, 2021).
6
  Available at: https://www.cleveland.com/business/2020/04/frontier-airlines-cuts-90-of-capacity-
flying-only-to-orlando-from-cleveland-hopkins-in-april.html (last accessed January 21, 2021). w
7
  Available at: https://www.washingtonpost.com/road-to-recovery/frontier-airlines-pushes-ahead-
with-some-success-despite-pandemic/2020/10/27/57470f90-1583-11eb-bc10-
40b25382f1be_story.html (last accessed January 22, 2021).


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    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 15
                                        of 89




       61.47. Any hope to build back up its flight capacity by the summer of 2020 was dashed,

as spikes in COVID-19 cases “resulted in the airline tempering its expectations and pulling some

capacity from the marketplace.”8

       62.48. In October 2020, news reports outlined that Frontier expected to carry at least

20 million fewer passengers this year than it did in 2019, when it flew more than 31 million

people.9

       63.49. Even during the normally busy December holiday season, passenger volume was

down over 50% from 2019.10

       64.50. Future cancellations appear likely in light of COVID-19’s resurgence globally and

in the United States. Indeed, some airlines are predicting that their capacity for January and

February 2021 will be only 45% of what it was in 2019.11

       65.51. Recognizing the severe reduction in demand, the federal government provided a

$58 billion bailout to the airlines in the CARES Act, including approximately $211 million to

Frontier alone. Frontier received an additional $574 million loan from the federal government at

the end of September 2020.12




8
  Available at: https://centreforaviation.com/analysis/reports/frontier-airlines-adjusts-to-uncertain-
realities-spurred-by-covid-19-534381 (last accessed January 22, 2021).
9
   Available at: https://www.washingtonpost.com/road-to-recovery/frontier-airlines-pushes-ahead-
with-some-success-despite-pandemic/2020/10/27/57470f90-1583-11eb-bc10-
40b25382f1be_story.html (last accessed January 22, 2021).
10
   Available at: https://www.nbcnews.com/business/business-news/2020-was-brutal-airlines-next-
year-could-be-even-trickier-n1252436 (last accessed January 22, 2021).
11
   Available at: https://www.cnbc.com/2021/01/01/us-airline-2-losses-expected-to-top-35-billion-
in-dismal-2020-from-pandemic.html (last accessed January 22, 2021).
12
     Available at: https://www.washingtonpost.com/road-to-recovery/frontier-airlines-pushes-
ahead-with-some-success-despite-pandemic/2020/10/27/57470f90-1583-11eb-bc10-
40b25382f1be_story.html (last accessed January 22, 2021).
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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 16
                                    of 89




       66.52. Unfortunately for Frontier’s customers, despite the significant taxpayer-funded

relief paid to Frontier, Frontier continues to disregard its own Contract of Carriage and subject

customers to unlawful cancellation policies.

       67.53. Indeed, while many airlines throughout the world have provided refunds for flights

canceled due to COVID-19, Frontier has refused to issue refunds to its customers.

       C.      Frontier’s Contract of Carriage                                                          Formatted: Indent: Left: 0.5", Hanging: 0.5", Keep with
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       68.54. During the COVID-19 crisis and as a direct response to plummeting demand,

Frontier cancelled a huge number of flights. While exact numbers are in the exclusive possession

of Frontier, in late March, airlines were canceling over one-third of all scheduled flights each day

in the United States.

       69.55. Under the Contract of Carriage (Ex. A), Frontier was obligated to provide

passengers on those flights with the option of either alternative transportation to their destination

or a refund.

       70.56. Specifically, Section 18 of Frontier’s Contract of Carriage concerns specific

remedies for flight cancellation. It explicitly provides for a refund when Frontier cancels a flight:

               Delay, Misconnection, or Cancellation – In the event (i) a passenger’s
               flight is canceled, . . . to the extent possible, Frontier will provide
               transportation on its own flights at no additional charge to the
               passenger’s original destination or equivalent destination as provided
               herein. Frontier will have no obligation to provide transportation on
               another carrier. If Frontier cannot provide the foregoing transportation,
               Frontier shall, if requested, provide a refund for the unused portion of
               the passenger’s ticket in lieu of the transportation under the foregoing.

       71.57. Section 18, Subsection E also provides that Frontier may issue refunds for schedule

changes prior to the day of travel. That provision permits Frontier to divert a passenger “over its

own route system to the destination” due to a “modification in Frontier’s schedule . . . .” However,




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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 17
                                    of 89




“[i]n the event Frontier determines that the schedule modification is significant, at Frontier’s

discretion, it may refund the cost of the unused portion of the ticket.” (Ex. A).

       72.58. As described below, this contract provision, which purportedly left it up to Frontier

to decide whether to provide a refund when a significant schedule change occurred, is contrary to

longstanding federal law. Frontier has since changed its Contract of Carriage to require that “[i]n

the event Frontier determines that the schedule modification is significant, Frontier shall, if

requested, provide passengers a refund of the cost of the unused portion of the ticket.” (emphasis

added). (See Version 74 of the Contract of Carriage attached hereto as Exhibit B.)

       73.59. Section 18, Subsection B provides “Force Majeure - In the occurrence of a force

majeure event, Frontier may cancel, divert, or delay any flight without liability except to provide

a refund for the unused portion of the ticket.” (Ex. A.)

       74.60. The Contract of Carriage also sets forth the charges and fees Frontier must refund

in the event it cancels a customer’s flight. The Contract of Carriage, Section 20, Subsection A(4)

also states that “if no portion of the ticket has been used, the refund amount will be equal to the

fare, plus any ancillary purchases (checked or carry-on bag, seat assignments, etc.) and all charges,

taxes and fees paid for the ticket issued to the passenger.” (Ex. A.)

       75.     The Contract of Carriage, Section 20, Subsection A(1) also confirms that all refunds

“will be subject to government laws, rules, regulations, or orders of the country in which the ticket

was originally purchased and of the country in which the refund is being made.” (Ex. A.).

       76.61. Finally, under Section 9, Subsection A(1), the Contract of Carriage provides that

“[i]f a passenger cancels a ticket before the scheduled flight departure time, the value of the ticket

less a service fee will be retained for 90 days from the date of cancellation of the ticket in the form

of an electronic credit.” (Ex. A.)



                                                  16
 Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 18
                                     of 89




        77.62. In no event, however, does the Contract of Carriage permit Frontier to offer its

customers only a credit or voucher when it cancels a flight.

     D. The Federal Regulations and DOT Notice

        78.     Frontier’s failure to provide refunds to customers whose flights it canceled likewise

violates applicable federal regulations, which Frontier’s Contract of Carriage expressly

incorporates by reference. Specifically, 49 U.S.C. § 41712 prohibits unfair or deceptive practices

in the air carrier industry, and “since at least the time of an Industry Letter of July 15, 1996 . . . the

[DOT’s] Aviation Enforcement Office has advised carriers that refusing to refund a non-

refundable fare when a flight is cancelled and the passenger wishes to cancel is a violation” of

section 41712. Enhancing Airline Passenger Protections, 76 Fed. Reg. 23110-01, 23129.

        79.     On April 3, 2020, in response to airlines’ refusals to issue refunds to passengers for

cancelled flights, the DOT issued an Enforcement Notice Regarding Refunds By Carriers Given

the Unprecedented Impact of the COVID-19 Public Health Emergency On Air Travel” (the

“Enforcement Notice”).13 The Enforcement Notice states that:

                Carriers have a longstanding obligation to provide a prompt refund to a
                ticketed passenger when the carrier cancels the passenger’s scheduled flight
                or makes a significant change in the flight schedule and the passenger
                chooses not to accept the alternative offered by the carrier. The
                longstanding obligation of carriers to provide refunds for flights that carriers
                cancel or significantly delay does not cease when the flight disruptions are
                outside of the carrier’s control (e.g., a result of government restrictions).

        80.     Moreover, the requirement to provide a “prompt refund” applies to passengers who

purchased “non-refundable tickets” and applies to any optional fee charged for services a

passenger is unable to use, such as baggage fees, meals, and seat upgrades.



13
          Available     at:       https://www.transportation.gov/sites/dot.gov/files/2020-
04/Enforcement%20Notice%20Final%20April%203%202020_0.pdf (last visited January 29,
2021).
                                                   17
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 19
                                    of 89




       81.     The Enforcement Notice also states that this obligation “does not cease when the

flight disruptions are outside of the carrier’s control (e.g., a result of government restrictions).”

Instead, airlines are required to offer refunds whenever passengers are not at fault for the

cancellation, regardless of whether the cancellation is within the carrier’s control.

       82.     The “longstanding obligation” regarding refunds is set forth in the Code of Federal

Regulations. Specifically, consumers are entitled to refunds whenever their carrier cancels their

flight for any reason. 76 Fed. Reg. 23110-01, at 23129 (Apr. 25, 2011) (“Since at least the time of

an Industry Letter of July 15, 1996 . . . the Department’s Aviation Enforcement Office has advised

carriers that refusing to refund a non-refundable fare when a flight is cancelled and the passenger

wishes to cancel is a violation of 49 U.S.C. 41712 (unfair or deceptive practices) and would subject

a carrier to enforcement action.”)

       E.D.    Frontier’s Unlawful Conduct                                                              Formatted: Indent: Left: 0.5", Hanging: 0.5"

       83.63. Frontier is obligated to provide refunds for cancelled flights under both its Contract

of Carriage and federal law. Because of the number of flights cancelled, Frontier, however, had

substantial financial incentives to prevent passengers from obtaining the refunds to which they

were contractually and legally entitled. Acting improperly based on these incentives, Frontier has

engaged in a number of schemes designed to avoid its contractual and legal obligations to provide

refunds. The decision to cancel flights and deny passengers full monetary refunds was a strategic

business decision designed to save Frontier money at the expense of its consumers.

       84.64. When Frontier cancelled a flight, it frequently rebooked passengers on

inconvenient and/or significantly different flights. When those passengers tried to complain about

the rebooking or request a refund, they were met with long hold times and unhelpful customer




                                                 18
 Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 20
                                     of 89




service. Rather than completely forfeit the rebooked ticket, Frontier forced their hand and many

passengers cancelled the rebooked flights and received a 90-day travel credit.

       65.     Many of the passengers, like Plaintiff Dickstein, who were able to contact Frontier

regarding the flights that Frontier unilaterally rebooked them on that were a significant

modification of their original flight schedules, advised Frontier that they did not accept the

significant modification of the rebooked flight. By rejecting the significant modification, and

requesting that Frontier issue a refund, Frontier was obligated by the Contract to provide a refund

for the value of the original ticket. However, Frontier refused to issue refunds and instead issued

passengers a travel credit that were purportedly valid for only 90 days.

       85.66. This 90-day limit to use the credits renders the credits virtually worthless during

the COVID-19 pandemic. Frontier drastically reduced its flight capacity and available routes in

response to the pandemic, severely limiting the flights available for rebooking and stay at home

orders were in effect during a substantial portion of the continuing Class Period.

       86.67. As reported on the travel website One Mile at a Time, “Frontier Airlines has by far

the worst rebooking policy . . . Frontier Airlines is requiring customers to rebook future travel

within 90 days of cancellation, and travel has to be completed by November 9, 2020. Giving

customers just 90 days to rebook is rather ridiculous when you consider the amount of uncertainty

at the moment.”14

       87.68. Further, Frontier often would not cancel flights until very close to the day of

departure. Before Frontier cancelled any flights, however, it also attempted to induce its consumers




14
 Available         at:      https://onemileatatime.com/frontier-airlines-convert-vouchers-into-
miles/#:~:text=Frontier%20Airlines'%20awful%2090%20day%20rebooking%20policy,-
Frontier%20Airlines%20has&text=Frontier%20Airlines%20is%20requiring%20customers,of%2
0uncertainty%20at%20the%20moment (last accessed January 21, 2021).
                                                19
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 21
                                    of 89




to preemptively cancel their flights in exchange for the travel credit and $50 travel voucher.

Frontier thus sought to trick customers into preemptively cancelling their flights in order to relieve

Frontier of its obligation to issue full monetary refunds for flights it would ultimately cancel.

       88.69. Frontier has used the pandemic and its accompanying uncertainty as a part of its

ploy when sending out emails with time-limited offers to customers to cancel their reservations in

exchange for Frontier travel credit, such as in the email depicted below:



                   ACT NOW, OFFER ENDS TONIGHT




                                    ACT NOW TO QUALIFY!



          IMPORTANT INFORMATION ABOUT YOUR UPCOMING FLIGHT

        FINAL DAY – CANCEL AND RECEIVE A $50 VOUCHER
               PER PASSENGER ON YOUR BOOKING
       Valued Customer,

       We want to thank you for choosing Frontier. We know things are difficult during
       this unprecedented time and we want to provide you another option for your
       upcoming travel with us.

       Cancel your booking today and you will receive a $50 per person voucher for
       future travel. This is in addition to a travel credit applicable to a future Frontier
       flight for the full amount of your unused ticket.




                                                 20
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 22
                                    of 89




       STEP 1
         Simply go to flyfrontier.com now and cancel your flight via the “My
         Trips/Checkin” tab.



       STEP 2
         You will automatically receive your credit for future use and also
         receive your additional voucher within seven days of your cancellation
         to the email address used in the original booking. Your $50 per person
         voucher will be available for booking through Dec. 31, 2020. The best
         part is your travel does not need to be completed by Dec. 31 just
         booked!

       To qualify for the $50 per person voucher and flight credit, you must cancel your
       flight TONIGHT (Friday, March 27). This offer is valid for flights scheduled from
       March 28 – June 17. If you did not book your travel with Frontier directly, you will
       need to update your contact information when you cancel your flight. For more
       about this offer, click here.

       We appreciate your continued patience and understanding as we navigate this
       challenging time, and we hope to serve you on many future Frontier flights.


       Team Frontier




        89.70. The travel credit offered by Frontier for the cancellation expired after 90 days.

Frontier never adequately disclosed that the travel credit will be limited to 90 days until after the

consumer has accepted Frontier’s offer to cancel the consumer’s reservation.

        90.71. After deceiving customers to opt for future credit or Frontier points, instead of the

refund to which they are entitled to under its Contract of Carriage and federal law, Frontier denied

refunds for flights it later cancelled.




                                                 21
 Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 23
                                     of 89




        91.72. Moreover, whenever a customer chooses to preemptively cancel their flight,

Frontier does not refund them—in Frontier credit or otherwise—any of the additional fees they

incurred when purchasing their original airline tickets, such as fees paid for seat selection.

        92.73. By providing credits instead of refunds, Frontier has additional opportunities to

charge service, processing baggage, seat selection, and other fees that will ensure Frontier reaps

additional future profits.

        93.74. Frontier’s tactics saved it money but also provoked outrage. On March 31, 2020, a

group of Senators, including Edward J. Markey, Richard Blumenthal, Elizabeth Warren, and

Sheldon Whitehouse, sent a letter to Frontier CEO Barry L. Biffle urging the airline to “issue full

cash refunds to all customers” whose flights are cancelled during the crisis.15

        94.75. The Senators noted the toll the crisis has taken on personal finances: “The ongoing

pandemic is placing enormous financial strain on millions of Americans, and families need cash

to pay for essentials such as food housing, and medical care.” The Senators further criticized

Frontier’s conduct as particularly inequitable given that the government bailed out the airline

industry: “In light of this pressing need and the unprecedented bailout—to the tune of $25 billion—

that the airline industry has just received from Congress,16 we believe your company has a moral

responsibility to provide real refunds, not travel vouchers, to consumers . . . .”

        95.76. Despite the backlash to Frontier’s cancelation and refund policy, Frontier continues

to refuse to provide refunds to passengers for flights cancelled due to COVID-19.




15
   Available                                                                               at:
https://www.markey.senate.gov/imo/media/doc/Airline%20Cash%20Refunds%20for%20Corona
virus%20Cancellations.pdf (last accessed January 21, 2021).
16
   Coronavirus Aid, Relief, and Economic Security (CARES) Act, § 4003(b)(1), Pub. L. No. 116-
136, https://www.congress.gov/bill/116th-congress/house-bill/748/text.


                                                 22
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 24
                                    of 89




       E.      Frontier’s Communications to Passengers Novated a New Contract

       77.     Frontier’s email and other correspondence to passengers intending to entice them

to cancel their flights informed passengers that they could change and cancel with no fees and

would receive travel credits not only equal to the value of their original booking. Some emails

also offered an additional $50 voucher

       78.     The emails to passengers offering to provide no fees and/or vouchers in exchange

for the passenger cancelling the flight constitute an offer to the passengers.

       79.     However, Frontier’s communications did not include a term requiring that the

passenger use the travel credit within 90 days. Because the communications did not include any

statement that the travel credits received for cancelling the tickets would expire, consumers

reasonably expected that the travel credits would not expire in 90 days given the ongoing

pandemic.

       80.     By cancelling their tickets in response to Frontier’s communications, passengers

accepted Frontier’s offer.

       81.     Passengers’ acceptance of Frontier’s offer created a new contact that provided

passengers with travel credits that could be used toward future travel on a Frontier airlines flight.

       82.     Moreover, by accepting Frontier’s offer and cancelling their original flight, the

parties agreed to extinguish the old contract—that is, the obligation to transport the passenger on

the originally scheduled flight—by the creation of the new contract. As such, Frontier’s offer, and

the passengers’ acceptance thereof by cancelling their flights, novated a new contract.

       83.     However, instead of complying with the terms of the new contract, Frontier

unilaterally imposed an undisclosed 90-day time limit on the travel credits. By imposing a time

limit on the travel credits to which the parties did not agree, Frontier breached the novated contract.



                                                  23
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 25
                                    of 89




                                    CLASS ALLEGATIONS

       96.84. Plaintiffs bring this action individually and, pursuant to Federal Rule of Civil

Procedure 23(a), 23(b)(2), and/or 23(b)(3), on behalf of the following “Class” defined as follows:

               All persons in the United States who meet the following criteria:

               i. Purchased tickets to fly on Frontier Airlines, to, from or within the United
               States; and

               ii. Frontier cancelled the flight(s) or the consumer cancelled the flight(s), on
               or after February 29, 2020; and

               iii. To whom Frontier has failed to provide a refund; and

               iv. Who has not used any travel credits provided by Frontier to fly on a
               Frontier flight when the reservation was cancelled.

       97.85. Excluded from the Class are: (a) Frontier and its affiliates, agents, employees,

officers, and directors; and (b) the judge assigned to this matter, the judge’s staff, and any member

of the judge’s immediate family. Plaintiffs reserve the right to amend this class definition as the

case and discovery progress.

       98.86. Numerosity: The Class is so numerous that joinder of all members is impracticable.

While the exact number and identity of the Class members are unknown to Plaintiffs, such

information is in the sole possession of Frontier and obtainable through the discovery process. The

Class consists of thousands of people.

       99.87. Commonality: Common questions of law and fact exist as to all members of the

Class, which predominate over questions affecting individual Class members. These common legal

and factual questions include, but are not limited to:

               a.      Whether Frontier’s customers had a contractual right to refunds for flights
                       cancelled by Frontier;

               b.      Whether Frontier breached its contract with customers when it did not
                       provide refunds for flights that Frontier cancelled;


                                                 24
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 26
                                    of 89




               c.      Whether Frontier breached its contract with customers by failing to provide
                       an adequate means for customers entitled to receive refunds for flights that
                       Frontier cancelled to request or otherwise obtain such refunds;

               d.      Whether Frontier breached its contract by providing Class members with
                       travel credits instead of refunds;

               e.      Whether rescission of the Contract of Carriage is appropriate and restitution
                       provided;

               f.      The appropriate injunctive relief; and

               g.      The quantum of damages or restitution to which the Class is entitled.

       100.88.         Typicality: Plaintiffs have the same interest in this matter as all Class

members, and Plaintiffs’ claims arise out of the same set of facts and conduct as the claims of all

Class members. Plaintiffs’ and Class members’ claims all arise out Frontier’s uniform conduct,

policies, and practices.

       101.89.         Adequacy: Plaintiffs have no interest that conflicts with the interests of the

Class and are committed to pursuing this action vigorously. Plaintiffs have retained counsel

competent and experienced in complex consumer class action litigation. Accordingly, Plaintiffs

and their counsel will fairly and adequately protect the interests of the Class.

       102.90.         Superiority: A class action is superior to all other available means of fair

and efficient adjudication of the claims of Plaintiffs and the Class. The injury suffered by each

individual Class member is relatively small compared to the burden and expense of individual

prosecution of the complex and extensive litigation necessitated by Frontier’s conduct. It would

be virtually impossible for members of the Class individually to effectively redress the wrongs

done to them. Even if the members of the Class could afford such individual litigation, the court

system could not. Individualized litigation increases the delay and expense to all Parties, and to

the court system, presented by the complex legal and factual issues of this case. Individualized

rulings and judgments could result in inconsistent relief for similarly situated individuals. By

                                                 25
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 27
                                    of 89




contrast, the class action device presents far fewer management difficulties, and provides the

benefits of single adjudication, economy of scale, and comprehensive supervision by one court.

       103.    Frontier has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief and corresponding declaratory relief with respect

to the Class as a whole.

       91.     Plaintiffs acknowledge that Section 22, Subsection H of Frontier’s Contract of

Carriage states, in part, that any case brought pursuant to the contract “may be brought in a party’s

individual capacity and not as a plaintiff or class member in any purported class or representative

proceeding.” (Ex. A.) Plaintiffs assert that this provision is unconscionable and unenforceable and

should not, in any event, bar the prosecution of this matter as a class action.

       92.     The provision is buried in the Contract of Carriage’s last page in plain, non-bolded

type. Further, the provision is not commercially reasonable and is substantively unfair in that (1)

it was not a standard provision in the contracts of carriage of other major airlines during the

relevant period and (2) it effectively eliminated the prospect of Plaintiffs and other customers

pursuing their claims, given the cost prohibitive nature of individual litigation relative to the cost

of the plane fare that would be at issue in such a matter. In addition, the Contract of Carriage was

a form contract presented to Plaintiffs and other customers on a take-it-or-leave-it basis; Plaintiffs

and other customers were not afforded any meaningful opportunity to review the Contract of

Carriage given the time-sensitive nature of securing air travel accommodations; and Frontier held

considerable bargaining power over its customers such that it was able to require its customers to

enter into a one-sided, form contract of adhesion for air travel. Under these circumstances,

Frontier’s “No Class Action” provision is unconscionable and should not be enforced.

                                     CLAIM FOR RELIEF
                                   BREACH OF CONTRACT

                                                 26
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 28
                                    of 89




                                (on behalf of Plaintiffs and the Class)

         104.93.          Plaintiffs reallege and incorporate by reference all paragraphs as though

fully set forth herein.

         105.94.          Plaintiffs bring this claim on behalf of themselves and members of the

Class.

         106.95.          Frontier made offers to Plaintiffs and the Class members to enter into a

contract for Frontier to provide transportation services to Plaintiffs and the Class members through

passenger tickets for air travel between specific locations, on specific flight numbers, on specific

dates and times, at specific prices.

         107.1. Frontier’s offer to provide transportation services to Plaintiffs and the Class

members also included Frontier’s term that it would refund Plaintiffs and the Class members for

all cancellations. At all times relevant, such offers and terms were specifically identified in

Frontier’s Contract of Carriage (see Exhibit A), entered into between Plaintiffs and the Class

members on one hand, and Frontier on the other, at the time of ticket purchases.

         108.1. The Contract of Carriage reflects obligations voluntarily undertaken by Frontier.

         109.1. Moreover, Plaintiffs and the Class members did not draft the terms of the Contract

of Carriage. Rather, all its terms were drafted by Frontier and at Frontier’s direction.

         110.1. Numerous sections of the Contract of Carriage applicable at the time Plaintiffs and

Class members purchased their tickets confirm their contractual rights to refunds for tickets and

fees where a flight has been cancelled and/or significantly changed, regardless of the reason for

such cancellation or delay.

         111.   First, in the event that Frontier cancels a flight, Section 18(C) of the Contract of

Carriage requires it to either provide reasonable alternative transportation or a monetary refund.



                                                  27
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 29
                                    of 89




          112.   The foregoing applies with equal force to all Frontier tickets, regardless of whether

they were deemed “refundable” or “non-refundable,” or purchased through Frontier or a third

party.

          113.   Second, in Section 20(A)(1), the Contract of Carriage expressly incorporates by

reference DOT regulations requiring Frontier to issue refunds when it cancels a flight for any

reason:

          All refunds will be subjected to government laws, rules, regulations, or orders of
          the country in which the ticket was originally purchased and of the country in which
          the refund is being made.

          114.   Additionally, Section 22(A) affirms that, “[i]n all cases, this Contract of Carriage

will be subordinate to any applicable law.”

          115.96.        The terms of Frontier’s offer to provide transportation services contained a

definite promise by Frontier and gave Plaintiffs and the Class the power to agree to the terms of

Frontier’s offer to provide transportation services through, including but not limited to, the act of

purchasing a ticket or accepting transportation on Frontier’s aircraft.

          116.97.        Plaintiffs and the Class accepted Frontier’s offer to provide transportation

services, agreeing to the material terms contained in Frontier’s offer.

          117.98.        Plaintiffs and the Class communicated their acceptance of Frontier’s offer

to Frontier by purchasing one or more tickets and booking transportation services with Frontier.

          118.99.        The agreement between Plaintiffs, the Class members, and Frontier

included an exchange of promises or value, i.e., consideration. Here, Plaintiffs and the Class

members provided Frontier with consideration in the form of amounts equal to the monetary value

of the fare and all charges and taxes paid.




                                                  28
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 30
                                    of 89




       119.100.        Plaintiffs and all Class members performed under the Contract of Carriage.

Specifically, Plaintiffs and Class members tendered payment for airline tickets to Frontier and

complied with all conditions precedent under the Contract of Carriage.

       101.    Frontier’s offer to provide transportation services to Plaintiffs and the Class

members also included Frontier’s term that it would refund Plaintiffs and the Class members for

all cancellations. At all times relevant, such offers and terms were specifically identified in

Frontier’s Contract of Carriage (see Exhibit A), entered into between Plaintiffs and the Class

members on one hand, and Frontier on the other, at the time of ticket purchases.

       102.    The Contract of Carriage reflects obligations voluntarily undertaken by Frontier.

       103.    Plaintiffs and the Class members did not draft the terms of the Contract of Carriage.

All of the terms in the Contract of Carriage were drafted by Frontier and at Frontier’s direction.

       104.    Numerous sections of the Contract of Carriage applicable at the time Plaintiffs and

Class members purchased their tickets confirm their contractual rights to refunds for tickets and

fees where a flight has been cancelled and/or significantly changed, regardless of the reason for

such cancellation or delay.

       105.    Section 18(C) of the Contract of Carriage requires that, when Frontier cancels a

flight, Frontier must either provide reasonable alternative transportation or a monetary refund. As

such, if Frontier does not transport the passenger on comparable alternative transportation,

regardless of whether Frontier does not provide alternative transportation or the passenger rejects

the alternative transportation arranged by Frontier because it is unreasonable or a significant

modification of the originally ticketed flight, Frontier is obligated to refund the entire value of the

original ticket to the passenger.




                                                  29
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 31
                                    of 89




          106.   Section 18(C) applies with equal force to all Frontier tickets, regardless of whether

they were deemed “refundable” or “non-refundable,” or purchased through Frontier or a third

party.

          107.   Section 18(E) of the Contract of Carriage requires that, when Frontier makes a

significant schedule modification to a flight, and the passenger does not travel on the modified

flight, Frontier is obligated to refund the cost of the unused ticket when the passenger requests a

refund.

          120.108.      By failing to provide refunds upon request when Frontier cancelled flights,

Frontier breached its Contract of Carriage.

          121.109.      By rebooking passengers automatically for non-comparable flights, and not

providing refunds upon request, Frontier breached its Contract of Carriage.

          122.   Although Frontier determined to cancel flights well in advance of doing so, it

refused to timely advise passengers their flights would not depart in order to coerce them to accept

a travel credit or an additional $50 travel voucher, instead of the cash refund to which the customer

would be entitled once Frontier cancelled the flight.

          123.   Had Frontier disclosed to Plaintiffs and the Class that it intended to cancel their

flights and issue a refund under the Contract of Carriage, Plaintiffs and the Class would not have

voluntarily accepted a travel credit or voucher, and would have received the refunds to which they

were contractually entitled.

          124.110.      The 90-day time limit, viewed in the context of the COVID-19 pandemic

and Frontier’s unilateral decision to reduce its flights in response to the significant drop in demand,

made it impractical and, in many cases, impossible, for Plaintiffs and the Class to use the offered

travel credits and voucher.



                                                  30
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 32
                                    of 89




       125.111.        Plaintiffs argueBy offering passengers additional travel credits and/or fee

waivers in the alternative that by inducing customers to cancelexchange for cancelling their

existing flight reservations with, without an explicit 90-day expiration date for the offer of a travel

credit and a vouchercredits, Frontier entered into a new agreement with its customers the

passengers who accepted Frontier’s offer and thecancelled their flight reservations. Frontier’s

unilateral imposition of a 90-day expiration date on the travel credits offered was not a term of

Frontier’s offer and, formed no part of anythe agreement made.

       126.112.        Frontier’s failure to perform under the Contract of Carriage damaged

Plaintiffs and the Class, to whom Frontier did not provide the refunds, benefits, payment, and/or

performance to which they were entitled.

       127.113.        As a result of Frontier’s conduct, Plaintiffs and Class members have

incurred substantial damages, including but not limited to a refund of the purchase price Plaintiffs

and the Class paid for the tickets on the flights cancelled by Frontier.

       128.114.        As a result, Plaintiffs and the Class are entitled to fair compensation in the

form of complete refunds for all fares, charges, and taxes paid, in an amount to be proven at trial.

       129.115.        In the alternative, Plaintiffs and the Class seek all available equitable

remedies including rescission with restitution and/or reformation. Plaintiffs and the Class booked

flights with Frontier to be transported to their intended destination in exchange for money. At the

time Plaintiffs and the Class members booked their flights, the full extent of the COVID-19

pandemic was unforeseen and could not have been predicted. Plaintiffs and Class members would

not have booked flights with Frontier had they been aware of the travel restrictions and other

consequences of the pandemic prior to booking. In light of the pandemic, the 90-day travel credit

provided by Frontier was worthless to Plaintiffs and Class members. Frontier also repeatedly failed



                                                  31
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 33
                                    of 89




to meaningfully disclose that travel credits were limited to 90 days through its various offers

designed and intended to deceive Plaintiffs and Class members into purportedly forfeiting their

rights to receive a refund. Under these circumstances, rescission with restitution, and/or

reformation of contractual terms are appropriate to provide Plaintiffs and Class members with their

money back or travel credits that are actually usable.

       130.116.        Plaintiffs also seek injunctive relief. Refunds have not been provided, travel

credits have expired, and the harms caused by Frontier are ongoing. The airline industry leaves

consumers with very few carriers to choose from. Due to this lack of airline options, Plaintiffs and

the Class may need to fly Frontier again. Injunctive relief is necessary to prevent Frontier from

violating its own Contract of Carriage in the future and harming both Plaintiffs and the Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the Class, respectfully request that          Formatted: Widow/Orphan control

this Court:

               A.      Determine that the claims alleged herein may be maintained as a class action
                       under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
                       certifying the Class as defined above;

               B.      Appoint Plaintiffs as the representatives of the Class and their counsel as
                       Class Counsel;

               C.      Award all actual, general, special, incidental, statutory, punitive, and
                       consequential damages to which Plaintiffs and Class members are entitled;

               D.      Award all other appropriate relief including rescission, restitution, and
                       reformation;

               E.      Award pre-judgment and post-judgment interest as allowed by law;

               F.      Grant appropriate injunctive and/or declaratory relief, including, without
                       limitation, an order that requires Frontier to issue refunds to any member of
                       the class so entitled to a refund;

               G.      Award reasonable attorney’s fees and costs; and


                                                32
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 34
                                    of 89




                H.     Grant such further relief that this Court deems appropriate.

                                        JURY DEMAND

        Plaintiffs, on behalf of themselves and the putative Class, demands a trial by jury on all

issues so triable.




Dated: October 11, 2021                      Respectfully submitted,


                                             /s/ __________
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                                             Jamie Hubbard
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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 35
                                    of 89




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                           34
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 36
                                    of 89




                             EXHIBIT A
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 37
                                    of 89




                              Contract of Carriage

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        Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 38
                                            of 89



    CONTRACT OF CARRIAGE                                                                                                                 Rev 72 10/25/19
I




                                                          Table Of Contents

             Section          Subject                                                                                                                    Page


       1. Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       2. Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       3. Refusal to Transport and Special Conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
       4. International Transportation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
       5. Child Passengers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
       6. Service Animals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
       7. Smoking . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
       8. Tickets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
       9. Ticket Validity and Itinerary Changes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       10.Check-in Times . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       11.Fares . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       12.Checked Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
       13.Carry-On Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
       14.Cabin-Seat Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
       15.Conditions and Charges for Special Items . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
       16.Limitations of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
       17.Claim Limits and Procedures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
       18.Failure to Operate on Schedule or Failure to Carry . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
       19.Denied Boarding Compensation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
       20.Refunds; No-Show Cancellations and Service Charges . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
       21.Currency and Mode of Payment and Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
       22.Miscellaneous . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23




    Pg. 1 of 23                                                                                                                      Record of Revisions
                                                    Uncontrolled copy when downloaded or printed.
                               Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 39
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

1. Introduction
                                                                                                                          24




 The following terms and conditions as well as such additional terms and conditions presented on Frontier Airlines'
 website, fare rules, published schedules or printed on or in any ticket or ticket-less travel authorization apply to
 all tickets issued for travel on flights operated by or for Frontier Airlines, Inc. (“Frontier”) as well as that
 transportation regardless of whether such ticket was sold by Frontier or its authorized agents or whether such
 ticket is used (“Contract of Carriage”).
 This document is available for public inspection at all Frontier locations. Copies may be obtained by visiting the
 Frontier's web site at www.FlyFrontier.com or by writing to: Frontier Airlines, Inc., Customer Relations, 4545 Airport
 Way, Denver, CO 80239.

2. Definitions

  A. Codeshare -- A marketing and business arrangement in which two airlines “share” the same flight (which
     might include connecting legs). One airline places its designator code and flight number on a flight operated
     by the other airline, and markets and sells tickets for that shared flight as part of its published schedule.
  B. Code -- The U.S. Internal Revenue Code of 1986, as amended.
  C. DOT -- U.S. Department of Transportation.
  D. FAA -- U.S. Federal Aviation Administration.
  E. Fare Rules -- The rules and requirements associated with a ticket.
  F. IATA -- International Air Transport Association.
  G. No-Show Cancellation -- The automatic cancellation of a passenger’s ticket upon such passenger failing to
     either (i) check-in for such passenger’s flight, or (ii) board such passenger’s flight, in either instance within
     the required times. The automatic cancellation will apply to all subsequent flights, including return flights, on
     the itinerary. Presentation of a ticket by someone other than the named passenger renders the ticket void
     and the ticket will then be treated as a No-Show Cancellation for all purposes of this Contract of Carriage (see
     section 20. )
  H. Qualified Individual with a Disability -- An individual with a disability who: (i) has a physical or mental
     impairment that, on a permanent or temporary basis, substantially limits one or more major life activities; (ii)
     has a record of such an impairment; or, (iii) is regarded as having such an impairment, as further defined in
     14 CFR 382.5.
  I. Standby Passenger -- A passenger boarded subject to availability of seat space at departure time and only
     after all passengers having confirmed reservations for the flight have been boarded.
  J. Stopover -- An intentional interruption in a passenger’s trip in excess of 4 hours at a point between the place
     of departure and the final destination.
  K. STRETCH Seat - A seat located in the front rows and exit rows of certain Frontier aircraft that have additional
     legroom. These seats are made available to passengers for a fee.
  L. Ticket -The record of agreement, including electronic tickets, for passenger air transportation provided by the
     airline under certain terms and conditions to the passenger as described on the ticket, in the fare rules, and
     in this Contract of Carriage.
  M. TSA -- U.S. Transportation Security Administration.


Introduction                                                                                                    Pg. 2 of 24
                                      Uncontrolled copy when downloaded or printed.
                 Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 40
                                        of 89



CONTRACT OF CARRIAGE                                                                                             Rev 72 10/25/19


3. Refusal to Transport and Special Conditions

  A. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case Frontier will provide a refund
     of the amount paid for their ticket, which will be the limit of Frontier's liability.
     1) Government Request -- To comply with a government requisition of space or request for emergency
        transportation, e.g., in connection with national defense or natural disaster (actual, threatened or
        reported).
     2) No Seat for Safety Assistant - If a passenger requires a safety assistant (see section 3. B.6) and there is
        not a seat available on the applicable flight and, thus, both the passenger and the safety assistant are
        denied transportation. For purposes of determining whether a seat is available for a safety assistant, the
        safety assistant is deemed to have checked in at the same time as the individual with the disability.
  B. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case no refund will be due and
     Frontier will have no further liability.
     1) Government Direction - To comply with a direction of a government official acting in their official capacity
        to remove or not provide transportation to a specific individual.
     2) Identification -- The passenger refuses to produce a government-issued identification as required by
        Frontier's representatives or as required by law.
     3) Passports/Visas -- The passenger intending to travel across any international border fails to possess and
        present all valid documents (passports, visas, certificates, etc.) required by the laws of the countries
        from, over or into which the passenger will fly, which will in all cases be the passenger’s exclusive
        responsibility.
     4) Failure to Check In or Appear - The passenger fails to check-in for their flight within the required times or
        appear for boarding of that flight within the required times. (The ticket will be deemed to be a No-Show
        Cancellation (see Section 2.G) and canceled. All subsequent flights, including return flights, on the
        itinerary will also be treated as No-Show Cancellations (see Section 20)).
     5) Special Medical Requirements -- The passenger will be refused transport if he or she requires medical
        equipment be used in flight or services (i) not provided by Frontier, (ii) that may not be used in flight, or
        (iii) does not have sufficient supplies therefor. The foregoing includes any medical equipment that would
        require use of power from the aircraft, medical equipment for which the passenger does not have
        sufficient batteries for the duration of the flight plus unexpected delays. Passengers must be able to sit
        in a single seat with the seat in the full and upright position, which precludes passengers that must lie
        flat or that must be transported on a stretcher. Frontier does not provide medical oxygen.
              EXCEPTION: A respiratory device (e.g., ventilator, respirator, CPAP machine or Portable Oxygen
              Concentrator) is considered an assistive device and is permitted as carry-on or checked baggage at no
              charge provided that all batteries must be transported in carry-on baggage and must be packaged in
              a manner that protects them from physical damage and short circuits, and provided that if the device
              is to be used in flight: (i) the passenger must carry enough fully-charged batteries to power the device
              throughout the entire journey including all ground time (between connections), the duration of the flight
              and for unexpected delays, (ii) the device must be approved by the FAA with stickers indicating such,
              and (iii) prior to traveling, the passenger must complete the Portable Oxygen Concentrator Medical
              Authorization form (30881) available on Frontier's website or obtain a medical statement from his/her
              physician addressing the points on the POC Medical Authorization form.

Pg. 3 of 24                                                                   Refusal to Transport and Special Conditions
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                       Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 41
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

           NOTE:        Passengers are referred to 14 CFR Part 121, SFAR No. 106 for regulations regarding and
                        a list of Portable Oxygen Concentrators that are approved for use on aircraft.
     6) Qualified Individual with a Disability -- If transportation is refused because the passenger fails to comply
        with the following: Qualified individuals with a disability will be transported in accordance with the
        conditions and requirements of 14 C.F.R. § 382 unless the carriage of such individuals may impair the
        safety of the flight or violate Federal Aviation Regulations. Pursuant to 14 C.F.R. § 382.113, Frontier does
        not provide certain extensive in flight special services such as assistance in actual eating, assistance
        within the lavatory or at the individual's seat with elimination functions, or provision of medical services.
        Moreover, pursuant to 14 C.F.R. § 382.29, a qualified individual with a disability may be required to be
        accompanied by a safety assistant as a condition of being provided air transportation in any of the
        following circumstances: (i) when the individual, because of a mental disability, is unable to comprehend
        or respond appropriately to safety instructions from employees, including the required safety briefing, (ii)
        when the individual has a mobility impairment so severe that the individual is unable to assist in his/her
        own evacuation of the aircraft, (iii) when the individual has both severe hearing and severe vision
        impairments, if the individual cannot establish some means of communication with employees adequate
        to permit transmission of the required safety briefing, (iv) on the day of departure, if it is determined that
        an individual meeting the criteria of (i), (ii) or (iii) must travel with a safety assistant, contrary to the
        individual's self-assessment that he/she is capable of traveling independently, the safety assistant will
        not be charged to accompany the individual with a disability.
     7) Prisoners - If transportation is refused because of a failure to comply with the following: Frontier accepts
        up to two “low risk” prisoners with hand restraints per flight. If the flight is 4 hours or less, at least one
        armed or unarmed law enforcement officer must accompany the prisoner(s). If the flight is more than 4
        hours, at least two armed or unarmed law enforcement officers must accompany the prisoner(s). At no
        time may any prisoner be left unattended. No prisoners are accepted on codeshare itineraries.
     8) Resistant Prisoners - Any prisoner who has resisted or is reasonably believed to be capable of resisting
        his/her escort.
     9) Proper Attire - Any passenger who is barefoot and over 5 years of age, unless required to be barefoot for
        medical reasons, or who is not otherwise fully clothed.
     10) Intoxication - Any passenger who appears to be intoxicated or under the influence of drugs.
     11) Communicable Disease or Infection - A passenger who has a communicable disease or infection that is
         known or reasonably believed to pose a direct threat to the health or safety of others in the course of
         flight. If such a passenger presents a medical certificate dated within 10 days of the date of the flight for
         which it is being presented with specific conditions under which the individual can travel and not pose a
         direct threat to the health and safety of other persons, transportation will be provided to such individual
         unless it is not reasonable or feasible to implement the conditions set forth in the medical certificate as
         necessary to prevent the transmission of the disease or infection to other persons in the normal course
         of flight. Unacceptable measures will include, but not be limited to, a required separation between the
         passenger and other persons, use of medical equipment not permitted to be used on the aircraft, a
         requirement that any person wear protective gear including gloves.
     12) Refusal or Inability to Sit - Any passenger who is unwilling or unable to sit in an upright position during
         takeoff and landing with the seat belt fastened.
     13) Failure to Follow Instructions - Any passenger who refuses to obey instructions from an employee or
         crewmember.




Refusal to Transport and Special Conditions                                                                     Pg. 4 of 24
                                      Uncontrolled copy when downloaded or printed.
                 Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 42
                                        of 89



CONTRACT OF CARRIAGE                                                                                            Rev 72 10/25/19

     14) Use of Ticket Issued to Other Person - Any passenger who attempts to use a ticket not issued to that
         person. (This ticket will be deemed to be a No-Show Cancellation (see Section 2.G) and canceled. All
         subsequent flights, including return flights, on the itinerary will also be treated as No-Show Cancellations
         (see Section 20)).
     15) Interference - Any passenger who interferes with any member of the flight crew in pursuit of their duties
         or attempts to do so.
     16) Smoking - Any passenger who smokes or attempts to smoke on an aircraft.
     17) Weapon - Any passenger who, except as permitted by law (see 49 C.F.R. § 1544.219), wears or has on or
         about their persons concealed or unconcealed, deadly or dangerous weapons.
     18) Purchase in Violation of Contract of Carriage - Any passenger that purchases a ticket in violation of this
         Contract of Carriage or any fare rule. In addition, Frontier may (i) invalidate the tickets or any other that
         may have been purchased in the same manner, (ii) cancel any remaining portion of the passenger's
         itinerary, or (iii) confiscate any unused portions of the ticket.
     19) General Refusal - Any person whom Frontier has informed is not permitted to purchase transportation
         from Frontier.
  C. Refusal to Sell Transportation - Frontier may refuse to sell transportation to any person, including the
     following, and may inform such persons that they are not permitted to purchase transportation from Frontier:
     1) Refusal to Comply - A person who refuses to comply with instruction given by employees or
        representatives prohibiting the solicitation of items for sale or purchase, including airline tickets, passes,
        or travel award certificates.
     2) Prior Conduct - A person who has disrupted airline operations, mistreated employees, or has not complied
        with Frontier's policies or otherwise violates this Contract of Carriage.
     3) Misconduct - A person who has committed a fraudulent act against Frontier.
  D. Customer of Size - If, in Frontier's sole judgment, a passenger is unable to sit in an aircraft seat without lifting
     either or both armrests and occupying all or a portion of the adjacent seat(s), or encroaching into the aisle or
     adjacent seat(s), the passenger will be required to purchase a ticket for an additional seat (or more, if
     required to accommodate the passenger) at the price then applicable. If sufficient, contiguous seats are not
     available, the passenger will be given the option to switch to flights on which such seats are available (for
     which applicable fees will apply) or be given a refund.
  E. Allergies (Peanut, Pet, or Chemical) - Items are not removed from the aircraft to accommodate a passenger's
     allergy to a particular food, substance, or chemical. A variety of snacks are served on board many flights,
     including products that may contain peanuts or other nuts. A “peanut-free” or “chemical-free” environment
     cannot be provided to passengers onboard the aircraft. Passengers are advised to consult a healthcare
     professional regarding the risks of onboard exposure to any allergen.
  F. Pregnancy - Passengers who are pregnant are urged to consult with their doctor on whether it is safe to travel
     by air, including with due consideration to the possibility of turbulence, cabin pressurization, significantly
     increased risk of deep vein thrombosis associated with pregnancy, and lack of ready access to medical care.
     This is particularly important for women in their ninth month of pregnancy, who are urged to obtain an
     examination from their physician shortly before flying to confirm air travel will be safe. Women with a history
     of complications or premature delivery should not fly if pregnant. By traveling with Frontier, pregnant women
     acknowledge and accept these risks.Different policies for passengers who are pregnant may apply on any leg
     of a codeshare flight that is operated by the codeshare airline.



Pg. 5 of 24                                                                  Refusal to Transport and Special Conditions
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                      Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 43
                                    of 89



CONTRACT OF CARRIAGE                                                                                        Rev 72 10/25/19

  G. Electronic Surveillance of Passengers and Baggage - Passengers and their baggage are subject to inspection,
     including via electronic means, with or without the passenger's consent or knowledge.
  H. Diversion - In the event that Frontier is required to divert an aircraft because a passenger requires medical
     attention or due to the passenger's conduct, the passenger may be required to reimburse Frontier for the
     costs that Frontier incurs, including the cost to accommodate other passengers. The amount due will be as
     determined by Frontier.

4. International Transportation

  A. Compliance with Regulations - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements of countries to be flown from, into, or over. Frontier is not liable for any aid or information given
     by any agent or employee to any passenger in connection with obtaining necessary documents or complying
     therewith (including as may be provided in this Contract of Carriage) or the consequences to any passenger
     resulting from his/her failure to obtain such documents or to comply with such laws, regulations, orders,
     demands, requirements, or instructions.
  B. Compliance with Foreign Country Regulations regarding Importation of Goods - Passengers shall comply with
     all laws, regulations, orders, demands, or travel requirements of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from his/her failure to comply with such
     laws, regulations, orders, demands, requirements, or instructions.
  C. Customs Inspection - If required, a passenger must attend the inspection of his/her baggage, checked or
     unchecked, by customs or other government officials. Frontier accepts no responsibility to the passenger if
     they fail to observe this condition.
  D. Government Regulation - No liability shall attach to Frontier if, based on what it understands to be applicable
     law, government regulation, demand, order or requirement, it refuses to carry passenger. If, however, it is
     ultimately determined that Frontier was incorrect, the limit of its liability will be to refund the amount paid for
     the ticket on which transportation was refused.
  E. International Operations - Frontier is required to make an attempt to obtain emergency contact information
     from a passenger traveling into or out of a foreign country. If a passenger refuses to provide emergency
     contact information, Frontier will document the attempt and may require the passenger to sign the document.
  F. Indemnification - A passenger shall indemnify Frontier for any loss, damage, or expense suffered or incurred
     by Frontier by reason of the passenger's failure to possess any required travel documents or other failure to
     comply with the provisions of this section, including the applicable fare if Frontier is required to transport the
     passenger home from a country. Frontier is not liable to the passenger for loss or expense due to the
     passenger's failure to comply with this provision.
  G. Baggage Limitation - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements regarding baggage size and weight limitations of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from his/her failure to comply with such
     laws, regulations, orders, demands, requirements, or instructions.

5. Child Passengers

  A. Accompanied Children -- Children from 7 days through 14 years of age may travel with another passenger who
     is at least 15 years old.


International Transportation                                                                                     Pg. 6 of 24
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                  Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 44
                                        of 89



CONTRACT OF CARRIAGE                                                                                              Rev 72 10/25/19
  B. Unaccompanied Children
     1) Frontier does not allow children under the age of 15 years old to travel unaccompanied; they must be
        accompanied by a passenger who is at least 15 years old. Passengers who are 15 years old or older may
        travel on Frontier without an adult companion. A birth certificate, official school ID, or other form of ID may
        be requested for age verification purposes if the child's age appears questionable.
       NOTE:          Passengers under age 18 traveling without both parents may need additional documentation
                      to travel across international borders, depending on the country's requirements.
  C. Infant and Child Fares (except as otherwise provided in a specific fare rule) are as follows:
     1) Infants under 2 years of age are accepted, without charge, when the infant does not occupy a separate
        seat and is accompanied by a fare-paying passenger at least 15 years old. A birth certificate may be
        requested for age verification purposes if the infant’s age appears questionable.
              NOTE:       Due to supplemental equipment considerations, the number of infants accepted per flight
                          may be limited based on aircraft type.
     2) One adult may accompany up to two infants under the age of 2.
         a) When an adult passenger is traveling with two infants under 2 years of age, a seat must be purchased
            for at least one infant. The fare is the same as an adult fare.
     3) Children 7 days - 14 years of age occupying a seat are charged the same fare as an adult passenger.
              NOTE:       Passengers under age 2 traveling as lap children (not purchasing a seat) are subject to
                          international taxes. These taxes must be paid prior to boarding the originating departure
                          flight.
  D. Child Restraint Systems - Frontier accepts infant and child restraint systems (car seat or harness) approved
     for air travel that fit in the applicable aircraft seat with the arm rest down that meet the following
     requirements:
     1) Approved seats manufactured to U.S. standards between January 1, 1981, and February 25, 1985, must
        bear the label: “This child restraint system conforms to all applicable Federal motor vehicle safety
        standards.”
     2) Seats manufactured to U.S. standards on or after February 26, 1985, must bear two labels: (i) “This child
        restraint system conforms to all applicable Federal motor vehicle safety standards” and (ii) “THIS
        RESTRAINT IS CERTIFIED FOR USE IN MOTOR VEHICLES AND AIRCRAFT” in red lettering.
     3) Seats not meeting the above criteria must bear a label or markings showing: (i) the seat was approved by
        a foreign government, (ii) the seat was manufactured under the standards of the United Nations, (iii) the
        seat or child restraint device furnished by the certificate holder was approved by the FAA through Type
        Certificate or Supplemental Type Certificate, or (iv) the seat or child restraint device was approved by the
        FAA in accordance with 14 C.F.R § 21.8(d), or FAA Technical Standard Order C-100b, or a later version.
              NOTE 1:     A child under the age of 2 must be held in the passenger's lap or be seated in an approved
                          car seat for taxi, takeoff, and landing.
              NOTE 2:     Frontier encourages all adults traveling with infants under 2 years of age to secure the
                          infant in an approved car seat or harness in the infant's own purchased seat.
     4) Child Harness - The FAA-approved AMSafe Aviation C.A.R.E.S. child harness device may be used on-board
        the aircraft. It is designed for children weighing between 22 and 44 pounds (between 10 and 20
        kilograms) and must bear the label “FAA Approved in accordance with 14 CFR 21.305(d) approved for
        aircraft use only.”


Pg. 7 of 24                                                                                                       Child Passengers
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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 45
                                    of 89



CONTRACT OF CARRIAGE                                                                                         Rev 72 10/25/19

     5) Car Seats - A car seat may be used by a child between the ages of 7 days and 2 years if seat space is
        available after boarding, even if a seat has not been purchased for the child. A car seat may be used by
        any child when a separate seat has been purchased. To use a car seat onboard the aircraft:
         a) It must bear manufacturer labels identifying approval for aircraft use, as described in subsection (1)
            and (2) above.
         b) It must have a solid seat and solid back.
         c) It must have restraint straps installed to hold the child in the car seat.
         d) The child may not exceed the weight limitation of the car seat.
         e) It may not be placed in the emergency exit rows, in the seats immediately in front of or behind the exit
            rows, or in any seat that has an airbag seatbelt installed.
         f)    Window seats are the preferred location for a car seat, so it does not impede a passenger's movement
               or egress into the aisle. Other seat assignments are permitted provided the car seat is not obstructing
               the egress of any passenger.
         g) It must be secured by a seat belt at all times.
     6) Booster Seats - Booster seats may be carried on-board aircraft but must be stowed in an overhead
        compartment or underneath the seat for take-off and landing. Once the aircraft has reached cruising
        altitude, the passenger may use the seat during the flight. The booster seat must be stowed when the
        aircraft begins its descent.

6. Service Animals

  A. General - The following categories of service animals are allowed in the cabin without charge.
     1) Trained service animals assist passengers with disabilities. As evidence that an animal is a trained
        service animal, the passenger must present an identification card or other written documentation, the
        animal must have a harness, tag, or the passenger must give credible verbal assurances that he/she is
        a qualified individual with a disability using the animal. Only dogs, cats or miniature horses will be
        accepted as trained service animals. The animal must be at least 4 months old. The passenger is
        required to keep the animal under control at all times, with the animal on a leash or harness while in the
        boarding area and onboard the aircraft. Psychiatric support animals are recognized as trained service
        animals.
     2) Emotional support animals provide support for passengers with mental health-related disabilities. Only
        dogs or cats, at least 4 months old, will be accepted as an emotional support animal. Only one emotional
        support animal per passenger will be allowed. The passenger must keep the animal under control at all
        times, with the animal on a leash, harness or in a carrier while in the boarding area and onboard the
        aircraft. As evidence that the animal is required for that purpose, the passenger must present:
       a.     A Frontier Medical/Mental Health Professional Information form completed by a mental health
              professional (e.g., psychiatrist, psychologist, licensed clinical social worker, including a medical doctor
              specifically treating the passenger's mental or emotional disability) stating the following:
              (i) the passenger has a mental or emotional disability recognized in the Diagnostic and Statistical
              Manual of Mental Disorders — Fourth Edition (DSM IV),
              (ii) the passenger needs the emotional support animal as an accommodation for air travel or for
              activity at the passenger's destination,


Service Animals                                                                                                   Pg. 8 of 24
                                        Uncontrolled copy when downloaded or printed.
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    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 46
                                        of 89



CONTRACT OF CARRIAGE                                                                                             Rev 72 10/25/19

                  (iii) the individual providing the assessment is a licensed mental health professional, and the
              passenger is under his or her professional care, and
                  (iv) The date and type of the mental health professional's license and the state or other jurisdiction
              in which it was issued.
              b. A Frontier Veterinary Health Form completed and signed by Veterinary Professional indicating the
              following:
                  (i) Rabies Vaccine Given (date)
                  (ii) Rabies Vaccine Valid Through (date)
                  (iii) Veterinarian License number
                  (iv) Date Veterinarian License Issued
                  (v) State License Issued In
                  (vi) Name of Practice
                 (vii) Phone
              c. A Frontier Passenger Acknowledgment form completed and signed by the passenger.

       These forms must be completed and submitted 48 hours prior to departure.


     3) Service Animals trained in explosive detection, contraband search, or search and rescue on active duty
        and traveling for that purpose will be accepted for travel. The passenger must present credible
        documentation the animal is traveling for that purpose.
  B. Seating - The passenger may sit anywhere, except in an emergency exit row, provided the animal does not
     obstruct an aisle or egress of passengers in an emergency evacuation. The animal must fit under the seat or
     on the passenger's lap. If the passenger is seated in row 1, the animal will not be allowed on the passenger's
     lap. The animal may not occupy a seat. An animal that cannot or does not comply with the foregoing will not
     be accepted.
  C. International - Restrictions for travel with an animal to international destinations vary by country. Frontier
     recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel with a
     service animal or emotional support animal. Different policies may apply on any leg of a codeshare flight that
     is operated by the codeshare airline.
  D. Oxygen - No oxygen will be administered to a service animal in the event of an emergency.

7. Smoking

  A. Smoking is prohibited on all flights.
  B. Federal law prohibits tampering with, disabling, or destroying any smoke detector installed in an aircraft
     lavatory.
  C. The use of electronic smoking devices is prohibited at all times on all aircraft.

8. Tickets

  A. A passenger is entitled to transportation only upon presentation of a valid electronic ticket (e-ticket). The
     ticket entitles the passenger to transportation between the point of origin and the destination.

Pg. 9 of 24                                                                                                             Smoking
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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 47
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

   NOTE:        Paper tickets are not issued on Frontier ticket stock. Only electronic tickets are issued for travel on
                Frontier. However, paper tickets from other airlines may be accepted for travel at Frontier's
                discretion.
  B. Tickets are honored only in the order in which they are issued.
  C. The following practices are prohibited:
     1) Back to Back Ticketing -- The purchase or use of portions of tickets from two or more tickets issued as
        round-trip fares or other scheme for circumventing minimum stay requirements.
     2) Throwaway Ticketing -- The purchase or use of round-trip tickets for one-way travel.
     3) Hidden City/Point Beyond Ticketing -- The purchase or use of a ticket from a point before the passenger's
        actual origin or to a point beyond the passenger's actual destination.
  D. A ticket which has not been properly issued or paid for, or which has been altered, mutilated, or improperly
     issued by an unauthorized party is not valid for travel or refund.
  E. The purchaser of a ticket and the passenger intending to use it are responsible for ensuring that the ticket
     accurately states the name of the passenger.
  F. A ticket may only be used by the person named on the ticket. Frontier is not liable to the purchaser of a ticket
     if the ticket is used by someone other than the person named on the ticket.
  G. Presentation of a ticket by someone other than the named passenger renders the ticket void. The ticket is
     subject to confiscation, and the ticket will then be treated as a No-Show Cancellation for all purposes of this
     Contract of Carriage (see section 20. )
  H. An additional processing fee will apply to each ticket purchased or changed via Frontier's reservation center
     or at its airport counters, except (i) tickets purchased by an Elite member for themselves (a fee does apply to
     purchases by such members for others), and (ii) issuing an international ticket for infant taxes for an infant
     not occupying a seat.

9. Ticket Validity and Itinerary Changes

  A. Period of Validity
     1) Tickets issued by Frontier are valid for transportation only on the flights and dates shown on the ticket
        and have no value and are not valid for transportation thereafter. If a passenger cancels a ticket before
        the scheduled flight departure time, the value of the ticket less a service fee will be retained for 90 days
        from the date of cancellation of the ticket in the form of an electronic credit. The credit has no cash or
        refund value and may only be applied to a single subsequent ticket on a Frontier flight for the same
        passenger as the original ticket. In the case of a No-Show Cancellation, see section 20.
     2) Except as required by law or as provided in this Contract of Carriage, Frontier shall have no obligation of
        any kind to reschedule any passenger(s) who cancels a ticket before the scheduled flight departure time
        or to provide them with any refund or other credit for unused tickets.
     3) Except as required by law or as provided in this Contract of Carriage, in the case of a No-Show
        Cancellation, Frontier shall have no obligation of any kind to reschedule any such passenger(s) on any
        other flight, and the rules respecting No-Show Cancellations shall apply (see section 20. )
  B. Except for tickets purchased for travel within 7 days (168 hours) of purchase, all tickets may be canceled
     within twenty-four (24) hours of the purchase and a full refund will be given. After that time, except for tickets
     that are purchased as refundable, all tickets are non-refundable.


Ticket Validity and Itinerary Changes                                                                          Pg. 10 of 24
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                 Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 48
                                        of 89



CONTRACT OF CARRIAGE                                                                                            Rev 72 10/25/19


10. Check-in Times

  A. Airport Check-In - It is the passenger's responsibility to arrive at the airport, taking into consideration travel
     time both to and within the applicable airport, including processing through the security check point with
     enough time to complete check-in and security screening processes.
  B. Passengers can check in beginning 2 hours before departure at Frontier's airport check-in counters or 24
     hours before departure at www.FlyFrontier.com or on the Frontier mobile app, if the reservation is eligible for
     online or mobile app check-in.
  C. Check-In Times
     1) For domestic flights (originating and to a destination within the United States), the passenger must be
        checked in with a printed boarding pass or a Frontier mobile app boarding pass in-hand at least 45
        minutes prior to scheduled departure whether or not checking bags.
     2) For international flights, the passenger must be checked in with a printed boarding pass or a Frontier
        mobile app boarding pass in-hand at least 60 minutes prior to scheduled departure.
  D. Time Limit for Checking Bags - Baggage to be checked must be presented at the airport within the minimum
     check-in time. Passengers who present baggage after the minimum check-in time may be refused transport.
     At some airports, the counter may close at the check-in cut-off time, in such cases, passenger and baggage
     check-in are not permitted after the check-in deadline. In the event that baggage is accepted after the
     minimum check-in time, the passenger will be liable for any costs and fees for the bag to be delivered in the
     event that it is not carried on the same flight.
  E. Availability for Boarding - Tickets and seat assignments are subject to cancellation for passengers who fail to
     make themselves available for boarding at the departure gate at least 20 minutes prior to scheduled
     departure.
  F. Failure to Check In or Appear - If a passenger fails to check in or board the flight within the required time, the
     ticket will be deemed to be a No-Show Cancellation (see Section 2.G) and canceled. All subsequent flights,
     including return flights, on the itinerary will also be treated as No-Show Cancellations (see Section 20).
  G. Misconnected Passengers - The ticket of any passenger who does not meet the minimum check-in time due
     to the late arrival of an inbound connecting flight operating by Frontier will be accommodated on the next
     available flight operated by Frontier to the same destination. Frontier will not provide transportation on
     another airline or reimburse the cost of transportation purchased from another airline. The ticket of any
     passenger who does not meet the minimum check-in time due to the late arrival of an inbound connecting
     flight operated by any other airline will be canceled and no refund or accommodation on another flight will be
     due unless available and purchased at the applicable price by the passenger.

11. Fares

  A. Fares apply for transportation only between the airports for which they are published.
  B. When a passenger requires connecting service with arrival at one airport and departure from another airport,
     transportation between those airports must be arranged by and at the expense of the passenger.
  C. Fares are subject to change without notice until a ticket is issued.




Pg. 11 of 24                                                                                                     Check-in Times
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Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 49
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19


12. Checked Baggage

  A. Fees applicable to checked baggage:
     1) Baggage fees apply to each checked bag.
     2) Active U.S. military personnel, with Common Access Card (CAC), may check two bags at no charge for all
        types of tickets. Overweight and/or oversize charges for the first two free bags are also waived. This policy
        is for active U.S. military personnel only and does not extend to family members or traveling companions.
  B. Baggage Allowance Exceptions - The following may be checked or carried on at no charge and do not count
     toward the passenger's baggage allowance.
     1) Medical Assistive Devices - Canes, crutches, braces, wheelchairs, etc. for the use of the passenger. There
        is no limit to the number of mobility aids a passenger may check. Medical assistive devices must be
        packed separately, in protective packaging, for baggage fees to be waived.
     2) Wheelchairs - In compliance with federal law, wheelchairs or other types of mobility devices for the
        passenger are accepted as checked baggage in addition to the passenger's baggage allowance at no
        additional charge. Certain Frontier aircraft can accommodate up to two wheelchairs up to 40 inches (101
        cm) high, 50 inches (127 cm) long, 13 inches (33 cm) wide and weighing no more than 70 pounds (31
        kilograms) in the cabin of the aircraft on a first-come, first-served basis. Wheelchairs carried in the cabin
        of the aircraft will be brought to the front of the aircraft after all other passengers have deplaned.
     3) Essential Infant or Child Items - Child restraint devices, car seats, strollers, diaper bags, and other
        essential baby items when the infant is traveling. These items must be packed separately, in protective
        packaging, for baggage fees to be waived.
  C. Acceptable Baggage - Frontier will accept for transportation as baggage such personal property necessary or
     appropriate for the wear, use, comfort, or convenience of the passenger for the purpose of the trip, subject
     to the following:
     1) Checked baggage may not exceed 62 inches (157 cm) in linear dimension (height plus length plus width),
        nor more than 180 inches (457 cm) in any of those dimensions or weigh more than 50 pounds (22.6
        kilograms). Additional fees apply to items that exceed those size and weight limitations. Baggage
        weighing 100 or more pounds (45 kilograms) is not accepted.
NOTE 1:    For baggage checked to or from Canada, no baggage weighing more than 70 pounds (31.75
           kilograms) will be accepted.
     2) The TSA website maintains a list of items that passengers are not permitted to check in baggage. See
        www.tsa.gov for a complete list. Baggage containing any items on that list will not be accepted.
     3) An item for transportation not suitably packaged to withstand ordinary handling and turbulence, or of a
        size, weight or character that renders it unsuitable for transportation will not be accepted.
     4) The passenger is responsible for ensuring that all items packed in checked baggage are properly
        packaged and padded to resist handling and turbulence. (Refer to section 17. )
     5) All baggage is subject to inspection by Frontier. Frontier is not, however, obligated to perform an
        inspection. Frontier will refuse to transport or will remove baggage if the passenger refuses to submit the
        baggage for inspection.
     6) Frontier will not accept baggage or other personal property for storage.




Checked Baggage                                                                                                Pg. 12 of 24
                                      Uncontrolled copy when downloaded or printed.
                 Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 50
                                        of 89



CONTRACT OF CARRIAGE                                                                                           Rev 72 10/25/19

     7) Frontier will check baggage only when the passenger presents a valid ticket for transportation on the
        applicable flight.
     8) The passenger's name, address and telephone number must appear on the baggage.
     9) Frontier has the right to refuse to transport baggage on any flight other than the one carrying the
        passenger.
     10) Baggage will not be checked:
         a) To a point that is not reflected on the passenger's ticket.
         b) Other than the passenger's destination on the applicable flight, but if the flight is a connecting flight,
            to the final destination, but if that connecting flight is scheduled to depart from an airport different
            from the one at which the passenger is scheduled to arrive then only to the destination of the first leg.
     11) Live animals are not accepted as checked baggage.
     12) Agricultural items, perishable items, or products that do not conform with customs or agricultural
         government law at the flight's destination will not be accepted.
     13) Frontier will not accept for carriage any restricted/hazardous materials as defined in the DOT Hazardous
         Materials Regulations (49 C.F.R. §§ 171-177) and IATA Dangerous Goods Regulations. Examples of such
         goods are (i) liquor products over 140 proof, (ii) gasoline-powered tools, (iii) compressed gases, (iv)
         corrosives (such as acids and wet batteries), (v) explosives (such as dynamite and fireworks), (vi)
         flammables (such as matches and lighter fuels), (vii) poisons, and (viii) magnetic and radioactive
         materials. Electronic smoking devices (commonly referred to as e-cigarettes or personal vaporizers) pose
         a safety risk and are not permitted in checked baggage. These items are permitted in carry-on baggage.
         Spare lithium batteries are not allowed in checked baggage.
     14) Perishable items must be packaged properly such that they cannot leak through their packaging. (Refer
         to section 17. )
  D. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

13. Carry-On Baggage

  A. Passengers are permitted up to two carry-on items:
     1) One free personal item not larger than 8" x 14" x 18" (20 cm x 35 cm x 45 cm) that must fit within the
        personal item portion of the bag sizer.
     2) One carry-on item not larger than 10"H x 16"W x 24"L (25 cm x 40 cm x 114 cm) and weighing not more
        than 35 pounds (15 kilograms) that may be placed in the overhead compartment or under the seat. A fee
        for the carry-on item may apply based on the ticket type purchased. Active U.S. military personnel, with
        Common Access Card (CAC), may take a carry-on item free of charge for all types of tickets.
     3) Items that exceed these dimensions or are in excess of the allowance will be gate checked to which a fee
        will apply.
  B. The TSA website maintains a list of items that passengers are not permitted to carry onboard an aircraft. See
     www.tsa.gov for a complete list. Carry-on items containing any items on that list will not be accepted.
  C. The passenger is responsible for all items brought on board the aircraft. Items must be stored under a seat
     or in the overhead compartment.


Pg. 13 of 24                                                                                                   Carry-On Baggage
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                     Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 51
                                    of 89



CONTRACT OF CARRIAGE                                                                                      Rev 72 10/25/19
 D. Use of Portable Electronic Devices (PEDs)
    1) Small authorized PEDs are devices under 2 pounds and are of a size that can easily be placed in a seat
       pocket along with the other materials that are normally found in the seat pocket (Passenger Safety
       Information Card, Menu or airsickness bag). They include devices like tablets, readers and mobile phones
       and may be used during all phases of flight when in airplane mode including taxi, take-off and landing.
       However, if using them during taxi, take-off and landing, you must secure these devices by holding them,
       putting them in your pocket or holster, or placing them in a seatback pocket.
    2) Large authorized PEDs are devices 2 pounds or more such as full-size laptops. They must be turned off
       and stowed during taxi, takeoff and landing. You may stow them under the seat in front of you or in an
       overhead compartment. These devices may be used above 10,000 feet when authorized by a Flight
       Attendant announcement.
    3) On all flights operating outside U.S. airspace, PEDs cannot be used during taxi, takeoff and landing, but
       may be used in airplane mode above 10,000 feet when authorized by a Flight Attendant announcement.
 E. Sound Emitting Devices - Portable electronic devices that emit sound, e.g., music or video players or games,
    may be used only with headphones and provided the sound, even via the headphones, cannot be heard by
    others.
 F. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
    flight will apply to the entire itinerary.

14. Cabin-Seat Baggage

 A. Cargo stowed inside the main cabin of the aircraft and occupying a passenger seat is referred to as “Cabin-
    Seat Baggage.” Cabin-Seat Baggage may be transported on flights operated by Frontier subject to the
    following conditions:
    1) The full fare for the ticket for the applicable seat is paid. There is no carry-on baggage allowance or
       baggage allowance for that ticket. If the Cabin-Seat Baggage must be accommodated into a STRETCH
       seat due to its size or at the passenger's request, the STRETCH seat fee applies.
    2) The Cabin-Seat Baggage must be packaged or covered in a manner to avoid possible injury to passengers
       and crew.
    3) The Cabin-Seat Baggage must be carried aboard the aircraft by the passenger.
    4) The Cabin-Seat Baggage may not weigh more than 100 pounds (45 kilograms).
    5) The Cabin-Seat Baggage cannot exceed size dimensions of 57" height x 17.84" width x 9.3" depth (144.78
       cm x 45.31 cm x 23.62 cm).
    6) The Cabin-Seat Baggage must fit in the seat without blocking aircraft signage or extending into the aisle
       and be secured with a seatbelt or other approved method.
    7) Certain seats may not accommodate Cabin-Seat Baggage. Frontier will assign seats as appropriate.
    8) Except as provided herein, Frontier is not responsible for damage to Cabin-Seat Baggage.
    9) Cabin-Seat Baggage does not count toward the passenger's baggage allowance.

15. Conditions and Charges for Special Items
 The following items are accepted as checked or carry-on baggage, subject to the conditions specified and
 payment of applicable fees.

Cabin-Seat Baggage                                                                                            Pg. 14 of 24
                                     Uncontrolled copy when downloaded or printed.
                Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 52
                                        of 89



CONTRACT OF CARRIAGE                                                                                           Rev 72 10/25/19

   NOTE: Refer to the Sports Equipment and Special/Fragile Items chart hosted at www.FlyFrontier.com for other
         items which have specific packaging or other requirements which need to be met in order to be
         transported by air. All items listed on the Sports Equipment and Special/Fragile Items chart are subject
         to baggage fees. Baggage fees for excess, oversize, and overweight are cumulative and all may be
         assessed on one item.
  A. Firearms -- Firearms are accepted as checked baggage on flights within the United States, but not
     international flights. Carriage of any firearm is subject to the following conditions:
     1) In accordance with federal law, a passenger who presents baggage that contains a firearm must (i)
        ensure the firearm is unloaded, (ii) pack the firearm in a lockable, hard-sided container, (iii) declare the
        firearm unloaded at the time of check-in, and (iv) sign a “Firearms Unloaded” declaration.
     2) If the firearm is in a locked, hard-sided container INSIDE a piece of checked baggage, the declaration
        must be placed inside the checked baggage and proximate to, but not inside of, that container.
     3) If the firearm is in a locked, hard-sided container, but NOT INSIDE a piece of checked baggage, the
        declaration must be placed inside the container.
     4) After screening, the passenger must lock the firearm container and retain the key or combination.
     5) The passenger must make arrangements for and assume full responsibility for complying with any
        applicable laws, customs and government regulations, or restrictions of the state or territory to which the
        firearm is being transported.
  B. Ammunition - Ammunition for firearms (whether or not the firearm is also being carried) is accepted as
     checked baggage on flights within the United States, but not international flights, subject to the following
     conditions:
     1) The ammunition must be securely packed in the original manufacturer's packaging, fiber (such as
        cardboard), wood or metal boxes or other sturdy and durable packaging providing sufficient cartridge
        separation.
     2) Each passenger is allowed up to 11 pounds (4.9 kilograms) of ammunition.
     3) Loaded ammunition clips and magazines must also be securely boxed.
     4) Ammunition may be packed with the firearm.
  C. Live Animals -- Frontier accepts live animals only in the cabin of the aircraft, not as checked baggage. The
     transportation of live animals is subject to fees for carriage and the terms and conditions below.
       EXCEPTION: See separate rules with respect to service animals referred to in 6. Service Animals.
     1) Only the following animals are permitted:
         a) Domestic Flights -- Domesticated dogs, cats, rabbits, guinea pigs, hamsters, or small household birds.
         b) International Flights -- Domesticated dogs and cats.
     2) The passengers carrying the animal are responsible for making arrangements and assuming full
        responsibility for complying with any applicable laws, customs and other governmental regulations,
        requirements or restrictions of the country, state or territory to which the animal is being transported.
     3) The passengers carrying the animal are responsible for paying any import/export fees, duties or taxes
        that may apply as well as any fines for failing to comply with applicable law.
     4) International - Restrictions for travel with an animal to international destinations vary by country. Frontier
        recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel.


Pg. 15 of 24                                                                    Conditions and Charges for Special Items
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                     Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 53
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

     5) The passengers carrying the animal are responsible for making advance reservations because no more
        than ten pet containers will be accepted per flight.
     6) No passenger may carry more than one pet container.
     7) The animal must remain in a pet container at all times and may not be fed while onboard the aircraft.
     8) The pet container must be large enough for the pet to stand, turn around, and lie down in a natural
        position and fit underneath the seat in front of the passenger.
     9) The animal may not disrupt other passengers and the passenger must be able to quiet the animal without
        removing it from the container.
     10) The container counts toward the carry-on baggage allowance.
     11) No oxygen will be administered to an animal in the event of an emergency.
  D. Human Remains:
     1) Crematory remains (human or animal) may be transported as carry-on or checked baggage subject to the
        following conditions:
         a) The container must be made of a material such as wood or plastic that can be successfully screened
            by the TSA. If the container cannot be screened, it will not be allowed.
         b) If the container is checked, it must be sufficiently packaged in a well-insulated and sturdy container.
         c) If the container is carried onboard the flight, it counts toward the passenger's carry-on allowance and
            it must meet carry-on baggage dimensions.
     2) Human remains in caskets are not accepted.
  E. Dry Ice (frozen carbon dioxide) -- Dry ice may be carried under the following conditions:
     1) A maximum of 5.5 pounds (2.5 kilograms) of dry ice per passenger is accepted in checked or carry-on
        baggage.
     2) The cooler or package must permit the release of carbon dioxide gas. Styrofoam containers are not
        accepted.
  F. Bicycle - Bicycles may be carried under the following conditions:
     1) The handlebars must be fixed sideways, and the pedals removed or wrapped in plastic foam or similar
        material and the entire bicycle is encased in a hard-sided case.
     2) Bicycles may only be carried as checked baggage.
     3) A fee applies for each bicycle checked as baggage.
     4) Bicycles are excluded from baggage liability unless packaged in a hard-sided case.
  G. Special Items - The following items may exceed carry-on baggage dimensions but may be taken as a carry-on
     item (and count toward the carry-on bag allowance) as long as they fit in the overhead bin: fishing rods, tennis
     rackets, wedding attire, poster tubes and musical instruments. If any such items are comprised of more than
     one piece, they must be packaged together to be considered one item. The carry-on bag fee applies.
  H. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.




Conditions and Charges for Special Items                                                                       Pg. 16 of 24
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    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 54
                                        of 89



CONTRACT OF CARRIAGE                                                                                            Rev 72 10/25/19


16. Limitations of Liability

  A. Consequential Damages – Unless it is specifically stated otherwise in this Contract of Carriage, or as required
     by any applicable law, Frontier is not liable for any indirect, special or consequential damages arising out of
     or resulting from transportation provided, delay in transportation, or any failure to provide transportation.
  B. International Transportation – With respect to international transportation, as defined in the following
     referenced conventions, as applicable, Frontier’s liability will be limited as specified in, as and if applicable,
     (i) the Convention for the Unification of Certain Rules Relating to International Carriage by Air signed at
     Warsaw, October 12, 1929, as amended (“Warsaw Convention”), but subject to the Agreement entered into
     by Frontier pursuant to 14 C.F.R. Part 203 or (ii) the Convention for the Unification of Certain Rules for
     International Carriage by Air, signed at Montreal, May 28, 1999 (“Montreal Convention”).

17. Claim Limits and Procedures

  A. Limitations of Liability
     1) Domestic Flights – With respect to domestic flights, i.e., those flights originating and ending within the
        United States without any scheduled stops outside of the United States, or international flights to which
        neither the Warsaw Convention or the Montreal Convention apply, Frontier’s limit of liability, if any, for the
        loss, damage or delay in the carriage of checked baggage shall be limited to $3,500 for all bags checked
        under a single ticketed passenger’s name. Frontier will not be liable for:
         i)    the following items included in checked baggage, with or without the knowledge of Frontier:

               • alcohol                             • dentures                               • natural fur products
               • antiques                            • drugs prohibited by federal            • negotiable papers/
               • art, paintings                        or state law                             instruments
               • art supplies                        • DVDs                                   • optics
               • artifacts                           • eyeglasses                             • orthodontics
               • bags made from lightweight          • files                                  • orthotics
                 material not designed for           • food/perishables                       • photographic/video/
                 shipping                            • fragile articles or other                electronic equipment and
               • blueprints                            similar valuable items and               accessories
               • books                                 commercial effects                     • precious metals or stones
               • business documents                  • hand and power tools                   • publications
               • CDs                                 • heirlooms                              • samples
               • cell phones                         • irreplaceable items                    • securities
               • Cigars, cigarettes,                 • jewelry                                • silverware
                 electronic cigarettes, vape         • keys                                   • sound reproduction
                 pens                                • machinery and its parts                  equipment
               • collectibles                        • manuscripts                            • sunglasses
               • computer equipment                  • medication                             • surgical supports
                 (including hardware,                • money                                  • toys
                 software and all
                 accessories)




Pg. 17 of 24                                                                                             Limitations of Liability
                                           Uncontrolled copy when downloaded or printed.
                      Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 55
                                    of 89



CONTRACT OF CARRIAGE                                                                                      Rev 72 10/25/19

        ii) articles strapped, taped, or tied to other pieces of baggage, which may become separated as a result
            of normal handling during transportation
        iii) damage to the following items when not packed in a hard-sided case or other packing that is suitable
             for the item.
               •   Prosthetic devices
               •   Medical equipment
               •   Musical instruments
               •   Recreational or sporting equipment
               •   Baby items including car seats and strollers
        iv) damage to handles, straps, wheels and zippers arising from normal wear and tear caused by ordinary
            handling of baggage.
        v) damage arising from ordinary wear and tear, such as cuts, scratches, scuffs, stains, dents, punctures,
           marks, and dirt
        vi) damage resulting from over- packing or misuse
        vii) damage arising from liquids on or in baggage; including weather (e.g. rain, snow)
    2) International Flights/Montreal Convention – With respect to international flights to which the Montreal
       Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay in the carriage of
       baggage (whether checked or carry-on) shall be limited to 1,131 Special Drawing Rights per ticketed
       passenger. The conversion rate, available at www.imf.org, in effect on the date of loss will be used for
       determining maximum liability amount.
    3) International Flights/Warsaw Convention – With respect to international flights to which the Warsaw
       Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay of (i) checked baggage
       shall be limited to 17 Special Drawing Rights per pound, or actual value, whichever is less, (ii) carry-on
       baggage shall be limited to 332 Special Drawing Rights or actual value, whichever is less. The conversion
       rate, available at www.imf.org, in effect on the date of loss will be used for determining maximum liability
       amount. Absent evidence to the contrary, bags will be presumed to weigh 20 pounds.
    4) Frontier does not accept declarations of higher value or accept fees based on such declarations.
    5) Subject to the above specified limits of liability, Frontier will compensate a passenger whose baggage has
       been lost, damaged or delayed for reasonable, documented direct damages up to the specified limit of
       liability, provided the passenger has made reasonable effort to minimize the amount of damage and
       provided documentation of the loss. The compensation due for lost or damaged property will be
       determined by the lesser of the documented original purchase price less applicable depreciation or the
       cost to make repairs.
    6) Frontier’s liability for wheelchairs, mobility aids, and assistive devices used by a passenger with a
       disability if lost or damaged by Frontier shall be up to the original purchase price of the device without
       regard to the above limitations of liability.
    7) Passengers who incur incidental expenses as a result of delayed baggage delivery will be reimbursed per
       established DOT guidelines, subject to the above limitations of liability (as applicable). Any amounts paid
       to the passenger for incidental expenses will be deducted from the total loss amount prior to check
       issuance.




Claim Limits and Procedures                                                                                   Pg. 18 of 24
                                     Uncontrolled copy when downloaded or printed.
                Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 56
                                        of 89



CONTRACT OF CARRIAGE                                                                                            Rev 72 10/25/19

     8) Frontier will not be liable for loss or damage to carry-on baggage unless such damage is caused by
        Frontier’s or its agent’s negligence, which does not include damage resulting from turbulence, shifting of
        items during flight, or ordinary handling, including placing the baggage in overhead compartments or
        under seats.
     9) Frontier’s employees and agents are not liable to passengers.
  B. Time Limit to Make Claims and Procedures
     1) With respect to domestic flights and those international flights to which the Montreal Convention does
        not apply, any claim based on damage, delay or loss of baggage must be reported to Frontier within 4
        hours of the arrival of the flight on which the loss or damage is claimed to have occurred. Claims for
        pilferage may be made up to 24 hours after flight arrival. Any documentation required to support the claim
        must be submitted within 30 days from the date the requesting passenger receives the claim form packet
        from Frontier; Frontier will not be liable if the completed claims are not submitted, with documentation,
        within that time period.
     2) With respect to international flights to which the Montreal Convention applies, in the case of baggage
        damage, the person entitled to delivery must submit in writing to Frontier as soon as possible after
        discovery of the damage, and at the latest in writing 7 days from receipt of checked baggage and in the
        case of delay or loss, complaints must be made at the latest within 21 days from the date on which the
        baggage has been placed at the passenger’s disposal or should have been placed at his/her disposal in
        the case of loss. All claims must be made in writing and must be accompanied by supporting
        documentation. Any subsequent request for documentation from Frontier must be provided to Frontier
        within 21 days of the request.

18. Failure to Operate on Schedule or Failure to Carry

  A. Liability Limited - Frontier will use reasonable efforts to transport passengers and baggage to the purchased
     destination, but published schedules, flight times, aircraft types, seat assignments, and similar details set
     forth in the ticket or Frontier’s published schedules are not guaranteed and form no part of this Contract of
     Carriage. Frontier may substitute alternate aircraft, change schedules, delay or cancel flights, change seat
     assignments, and alter or omit stopping places shown on the ticket as required by its operations in Frontier’s
     sole discretion. Frontier’s obligations for failure to operate any flight, failure to operate a flight according to
     its schedule, or for changing the schedule or type of equipment used on any flight, with or without notice to
     the passenger, are set forth below.
  B. Force Majeure - In the occurrence of a force majeure event, Frontier may cancel, divert, or delay any flight
     without liability except to provide a refund for the unused portion of the ticket.
  C. Delay, Misconnection, or Cancellation - In the event (i) a passenger's flight is canceled, (ii) a passenger is
     denied boarding because an aircraft with lesser capacity is substituted, (iii) a passenger misses a connecting
     Frontier flight due to a delay or cancellation of a Frontier flight (but not flights of other carriers), (iv) a
     passenger is delivered to a different destination because of the omission of a scheduled stop to which the
     passenger held a ticket, to the extent possible, Frontier will provide transportation on its own flights at no
     additional charge to the passenger’s original destination or equivalent destination as provided herein.
     Frontier will have no obligation to provide transportation on another carrier. If Frontier cannot provide the
     foregoing transportation, Frontier shall, if requested, provide a refund for the unused portion of the
     passenger's ticket in lieu of the transportation under the foregoing. The foregoing shall be the limit of
     Frontier's liability for the matters covered by this provision.


Pg. 19 of 24                                                          Failure to Operate on Schedule or Failure to Carry
                                           Uncontrolled copy when downloaded or printed.
                      Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 57
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

 D. For purposes of involuntary reroute, the following groups of cities are considered to be the same point. If
    Frontier is able to provide transportation to one of the specified alternative cities, Frontier has met its
    obligation for transport to the final destination.
               •   Chicago-O’Hare (ORD) /Milwaukee (MKE)
               •   Ft. Lauderdale (FLL) /West Palm Beach (PBI) / Miami (MIA)
               •   Los Angeles (LAX) /Orange County (SNA)
               •   Madison (MSN)/Milwaukee (MKE)
               •   New York La Guardia (LGA) /Trenton (TTN) /Philadelphia (PHL)
               •   Orange County (SNA) /San Diego (SAN)
               •   Orlando (MCO) /St. Augustine (UST)
               •   Orlando (MCO) /Tampa (TPA)
               •   Washington Dulles (IAD) /Washington National (DCA)
 E. Schedule Change Prior to Day of Travel -- When a passenger’s itinerary is changed because of a modification
    in Frontier’s schedule, arrangements will be made to:
    1) Transport the passenger over its own route system to the destination; or
    2) In the event the schedule modification is significant, at Frontier's discretion, it may refund the cost of the
       unused portion of the ticket.
 F. Extended Onboard Ground Delays -- In accordance with FAA regulations, Frontier maintains and complies with
    a separate Contingency Plan for Lengthy Tarmac Delays. Frontier's Contingency Plan for Lengthy Tarmac
    Delays may be found on Frontier's website at 
    https://az832049.vo.msecnd.net/media/1567/f9-contingency-plan-for-extended-tarmac-delays-2015.pdf.
    Frontier's Contingency Plan for Lengthy Tarmac Delays is subject to change without notice and is not part of
    this Contract of Carriage.

19. Denied Boarding Compensation
 When a seat cannot be provided due to an inadequate number of seats for the number of passengers holding
 confirmed reservations (overbooking), the actions described in this section will be taken.
 A. Voluntary -- Passengers on a flight with an overbooking will be encouraged to voluntarily relinquish their seats
    in exchange for alternate travel and for compensation in the form of an Electronic Travel Certificate for future
    transportation within 90 days on Frontier. The request and selection of volunteers will be in a manner
    determined solely by Frontier.
 B. Involuntary -- If insufficient passengers volunteer, passengers who check in after all seats have been
    assigned will be denied boarding and Frontier will provide transportation on Frontier’s flights to the same
    destination.
 C. Amount of Compensation -- Frontier will compensate a passenger for involuntary-denied boarding based on
    the new arrival time after the originally scheduled arrival time as follows:


                Domestic                                International                                 Compensation
    New arrival time within :59             New arrival time within :59                No Compensation
    New arrival time within 1 - 1:59        New arrival time within 1 - 3:59           200% (2x) of the one-way fare, not to
                                                                                       exceed $675
    New arrival time 2 hours or more        New arrival time 4 hours or more           400% (4x) of the one-way fare, not to
                                                                                       exceed $1350

Denied Boarding Compensation                                                                                   Pg. 20 of 24
                                     Uncontrolled copy when downloaded or printed.
                Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 58
                                        of 89



CONTRACT OF CARRIAGE                                                                                           Rev 72 10/25/19


       NOTE 1:      Frontier will not provide compensation for denied boarding when an aircraft of lesser capacity
                    is substituted due to operational or safety reasons.
       NOTE 2:      No compensation will be due if boarding is denied for reasons other than overbooking, e.g.,
                    pursuant to applicable law or other provisions of this Contract of Carriage.
  D. Onward Transportation for Passengers Denied Boarding
     1) A passenger denied boarding, voluntarily or involuntarily, pursuant to this section, will be transported on
        Frontier’s next available flight on which space is available and at no additional charge.
     2) If a passenger who has been denied boarding, voluntarily or involuntarily, pursuant to this section, wishes
        to modify the travel date, if space is available, a ticket will be provided for travel within 72 hours at no
        additional charge.
  E. Electronic Travel Certificates - Frontier may offer passengers denied boarding involuntarily an Electronic Travel
     Voucher good for transportation on Frontier in lieu of cash compensation otherwise due under this section.
     Passengers may decline such offer in favor of the applicable cash compensation. The Electronic Travel
     Certificate has no refund value, will expire 90 days from date of issuance, is not transferable and may only
     be used to purchase tickets for the passenger to whom it is issued. Only one Electronic Travel Certificate may
     be used per ticket at the time of purchase. Electronic Travel Certificates may not be applied to ancillary fees
     and charges, e.g., seat fees, baggage fees, etc., applied to group travel, or combined with other offers. If a
     ticket purchased with an Electronic Travel Certificate costs less than the amount of the certificate, no residual
     value remains. Changes to a ticket purchased with an Electronic Travel Certificate may result in a change fee
     and any additional fare difference based on the rules of the issued ticket.
  F. Time of Offer and Payment of Compensation
     1) The offer of compensation for overbooking will be made by Frontier on the day and at the place where the
        failure to provide confirmed space occurred. If accepted, compensation will be given to the passenger. If
        the alternative transportation arranged for the passenger's convenience departs before the payment can
        be made, payment will be made by mail or other means within 24 hours after the denied boarding occurs.
     2) Acceptance of any Denied Boarding Compensation constitutes full compensation for damages incurred
        by the passenger as a result of Frontier's failure to provide the passenger with a confirmed seat.

20. Refunds; No-Show Cancellations and Service Charges

  A. The provisions of this Section (20.A) shall apply with respect to refunds for tickets under this Contract of
     Carriage:
     1) All refunds will be subject to government laws, rules, regulations, or orders of the country in which the
        ticket was originally purchased and of the country in which the refund is being made.
     2) The first portion of any amount refunded will be the full amount of taxes and fees imposed on the ticket
        purchase.
     3) If applicable, cancellation fees or service charges will be assessed in a separate transaction and netted
        against the refunded amount.
     4) No Use - If no portion of the ticket has been used, the refund amount will be equal to the fare, plus any
        ancillary purchases (checked or carry-on bag, seat assignments, etc.) and all charges, taxes and fees paid
        for the ticket issued to the passenger.
     5) Partial use - If a portion of the ticket has been used:

Pg. 21 of 24                                                    Refunds; No-Show Cancellations and Service Charges
                                          Uncontrolled copy when downloaded or printed.
                     Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 59
                                    of 89



CONTRACT OF CARRIAGE                                                                                       Rev 72 10/25/19

         a) One-way ticket: If travel was terminated at an intermediate or stopover point, the refund amount will
            be equal to the amount of the fare and all ancillary purchases (checked or carry-on bag, seat
            assignments, etc.) paid from the point of termination to the destination or to the point at which
            transportation is to resume and will be the lowest one-way fare for the class of service paid for minus
            any discount, plus all charges, taxes and fees proportionately attributable, which shall be reasonably
            determined by Frontier.
         b) Round-trip ticket purchased: the refund amount will be equal to the amount of the fare and ancillary
            purchases (checked or carry-on bag, seat assignments, etc.) paid on the unused portion of the ticket,
            plus all charges, taxes and fees proportionately attributable, which shall be reasonably determined
            by Frontier.
  B. In addition to the provisions of Section 20.A, in situations other than No-Show Cancellations, the provisions
     of this Section (20.B) shall apply with respect to refunds for tickets under this Contract of Carriage:
     1) For refundable tickets that are canceled prior to flight departure, passengers should fill out an online
        request, available at www.FlyFrontier.com.
     2) For tickets that are canceled up to 24 hours after the time of purchase (excluding tickets purchased within
        seven days before travel, which will be held as a credit, subject to a cancellation fee), passengers should
        cancel their tickets online at www.FlyFrontier.com.
     3) Payment - A refund will be provided only to the original purchaser's form of payment. However, if, at the
        time of the application for refund, evidence is submitted that a company purchased the ticket on behalf
        of its employee or a travel agency has made a refund to its client, the refund will be made directly to the
        employee's company or the travel agency. The Table below illustrates other rules respecting payment:

   Payment Type                                    Refunded To
   Universal Air Travel Plan                       The subscriber against whose account the ticket was charged
   Transportation Request issued by a              The government agency that issued the transportation request
   government agency other than a U.S.
   government agency
   U.S. Government Transportation                  The U.S. government agency that issued the U.S. Government
   Request                                         Transportation Request with a check payable to the “Treasurer
                                                   of the United States”
   Credit Card                                     The account of the person to whom the credit card was issued
   Travel Voucher                                  The original voucher will be reinstated if the cancellation is within
                                                   90 days of the voucher issue date

     4) Identity - Frontier does not assume responsibility to confirm that the person using or presenting a ticket
        for refund is the true owner of the ticket.
  C. In situations involving a No-Show Cancellation, in addition to the provisions of Section 20.A, the provisions of
     this Section (20.C) shall apply with respect to refunds for tickets under this Contract of Carriage.
     1) Automatic Refund; No Additional Submission Required – In the case of a No-Show Cancellation, the
        refund described in Section 20.A shall be automatically refunded to the purchaser.
     2) Automatic Imposition of a No-Show Cancellation Service Charge.



Refunds; No-Show Cancellations and Service Charges                                                             Pg. 22 of 24
                                      Uncontrolled copy when downloaded or printed.
                 Refer to the Controlled Document Library for the most current version of this document.
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 60
                                        of 89



CONTRACT OF CARRIAGE                                                                                           Rev 72 10/25/19

         a) Refund – The refund described in Section 20.A shall be given, but will be netted against the No-Show
            Cancellation Service Charge in a separate transaction.
         b) Imposition of a No-Show Cancellation Service Charge – A No-Show Cancellation Service Charge will
            apply with respect to the ticket (or the segment for which the No-Show Cancellation applies) in the
            amount of the fare plus all ancillary purchases plus all charges, taxes and fees attributable to the fare
            and ancillary purchases.
         c) The payment of the No-Show Cancellation Service Charge shall not entitle the purchaser (and, if
            different, the passenger or other party to whom a refund would otherwise be due) to transportation.
  D. To the extent required by applicable law, including Code § 6415(a) and the regulations promulgated
     thereunder, the purchaser (and, if different, the passenger or other party to whom a refund would otherwise
     be due) hereby consents to Frontier recovering any allowance of a credit or refund of any overpayment of
     governmental fees or tax imposed, including pursuant to Code § 4261, including in each case which
     overpayment arises directly or indirectly as a result of a No-Show Cancellation as contemplated in this
     Contract of Carriage.

21. Currency and Mode of Payment and Fees

  A. Fares, fees, charges, and taxes charged or collected by Frontier are due in United States dollars, except for
     bookings made through available Canadian online travel sites, which are due in Canadian dollars. Any
     purchases made in connection with such bookings would also be due in Canadian dollars.
  B. All amounts due to Frontier must be paid with a credit card. Frontier does not accept cash for any
     transactions, including those on Frontier's aircraft.
  C. Frontier does not accept personal checks, traveler's checks, certified (cashier's) checks, or money orders.
  D. A service charge will apply to any improper chargeback on a credit card and may be charged to the same
     credit card via which the chargeback is made.

22. Miscellaneous

  A. Subordination to Law - In all cases, this Contract of Carriage will be subordinate to any applicable law.
  B. Metric References - Conversion of British units to metric units are approximate and for reference only. The
     British unit will apply.
  C. Change Without Notice - Except as may be required by applicable laws, government regulations, orders, and
     requirements, Frontier reserves the right to amend this Contract of Carriage without notice, provided that no
     such change shall apply to carriage that has commenced.
  D. No Waiver/Modification of Terms - No employee or agent of Frontier has the authority to waive, modify, or alter
     any provisions of the Contract of Carriage unless authorized by a corporate officer of Frontier.
     Accommodations provided beyond what is required by the Contract of Carriage do not alter the Contract of
     Carriage. Frontier's employees and agents, including third party travel agents and online travel sites, are only
     authorized to sell tickets for air transportation on Frontier subject to the Contract of Carriage.
  E. Changes in Rules, Fares, and Charges - Unless otherwise provided within specific fare rules, transportation
     is subject to the rules, fares and charges in effect on the date a ticket is issued, determined by the validation
     stamped or imprinted on the ticket, or valid electronic ticket.


Pg. 23 of 24                                                                    Currency and Mode of Payment and Fees
                                          Uncontrolled copy when downloaded or printed.
                     Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 61
                                    of 89



CONTRACT OF CARRIAGE                                                                                        Rev 72 10/25/19

  F. Taxes and Charges - When the ticket is issued for the effective date, all government, airport, vendor, or other
     charges that apply to passenger travel into foreign countries are the responsibility of the passenger to whom
     the ticket was originally issued and are in addition to the published fare and charges.
  G. Fares/Charges - Specific fares and charges information is available through Frontier reservations offices and
     at www.FlyFrontier.com.
  H. No Class Action - Any case brought pursuant to this Contract of Carriage, Frontier’s Tarmac Delay Plan, or
     Frontier’s Customer Service Plan may be brought in a party's individual capacity and not as a plaintiff or class
     member in any purported class or representative proceeding.
  I. Time Limit for Action - No legal action may be brought by a passenger against Frontier unless commenced
     within 6 months from the date of the alleged incident.
  J. Choice of Law - This Contract of Carriage will be governed by and construed in accordance with the laws of
     the United States of America and the State of Colorado without regard to conflict of law principles or law. All
     right to trial by jury in any action, proceeding or counterclaim arising out of or in connection with this Contract
     of Carriage is irrevocably waived.
  K. Codeshare Flights – Except for baggage policies (see section 12. , section 13. , and section 15. ), the policies,
     rules, and procedures of the operating airline will apply on any codeshare flight.




Miscellaneous                                                                                                   Pg. 24 of 24
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                  Refer to the Controlled Document Library for the most current version of this document.
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 62
                                    of 89




                             EXHIBIT B
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 63
                                    of 89




                       Contract of Carriage

                    Effective Date:     05/14/20
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 64
                                    of 89



CONTRACT OF CARRIAGE                                                            Rev74 05/14/20

                                         LIST OF EFFECTIVE PAGES
       REVISION NUMBER              74               REVISION DATE   05/14/20



   Chapter/Page     Revision/Date
 00.00 Pg. 1      Rev36 04/13/11
 00.00 Pg. 2      Rev36 04/13/11
 00.00 Pg. 3      Rev74 05/14/20
 Pg. 1            Rev74 05/14/20
 Pg. 2            Rev74 05/14/20
 Pg. 3            Rev74 05/14/20
 Pg. 4            Rev74 05/14/20
 Pg. 5            Rev74 05/14/20
 Pg. 6            Rev74 05/14/20
 Pg. 7            Rev74 05/14/20
 Pg. 8            Rev74 05/14/20
 Pg. 9            Rev74 05/14/20
 Pg. 10           Rev74 05/14/20
 Pg. 11           Rev74 05/14/20
 Pg. 12           Rev74 05/14/20
 Pg. 13           Rev74 05/14/20
 Pg. 14           Rev74 05/14/20
 Pg. 15           Rev74 05/14/20
 Pg. 16           Rev74 05/14/20
 Pg. 17           Rev74 05/14/20
 Pg. 18           Rev74 05/14/20
 Pg. 19           Rev74 05/14/20
 Pg. 20           Rev74 05/14/20
 Pg. 21           Rev74 05/14/20
 Pg. 22           Rev74 05/14/20
 Pg. 23           Rev74 05/14/20
 Pg. 24           Rev74 05/14/20




List of Effective Pages                                                             00.00 Pg. 3
        Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 65
                                            of 89



    CONTRACT OF CARRIAGE                                                                                                                 Rev74 05/14/20
I




                                                          Table Of Contents

             Section          Subject                                                                                                                   Page


       1. Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       2. Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
       3. Refusal to Transport and Special Conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
       4. International Transportation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
       5. Child Passengers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
       6. Service Animals. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
       7. Smoking . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       8. Tickets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       9. Ticket Validity and Itinerary Changes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       10.Check-in Times . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       11.Fares . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
       12.Checked Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
       13.Carry-On Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
       14.Cabin-Seat Baggage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
       15.Conditions and Charges for Special Items . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
       16.Limitations of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
       17.Claim Limits and Procedures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
       18.Failure to Operate on Schedule or Failure to Carry . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
       19.Denied Boarding Compensation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
       20.Refunds; No-Show Cancellations and Service Charges . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
       21.Currency and Mode of Payment and Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
       22.Miscellaneous . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24




    Pg. 1 of 23                                                                                                                     Record of Revisions
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 66
                                    of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

1. Introduction
                                                                                                                      24




 The following terms and conditions as well as such additional terms and conditions presented on Frontier Airlines'
 website, fare rules, published schedules or printed on or in any ticket or ticket-less travel authorization apply to
 all tickets issued for travel on flights operated by or for Frontier Airlines, Inc. (“Frontier”) as well as that
 transportation regardless of whether such ticket was sold by Frontier or its authorized agents or whether such
 ticket is used (“Contract of Carriage”).
 This document is available for public inspection at all Frontier locations. Copies may be obtained by visiting the
 Frontier's web site at www.FlyFrontier.com or by writing to: Frontier Airlines, Inc., Customer Relations, 4545 Airport
 Way, Denver, CO 80239.

2. Definitions

  A. Codeshare -- A marketing and business arrangement in which two airlines “share” the same flight (which
     might include connecting legs). One airline places its designator code and flight number on a flight operated
     by the other airline, and markets and sells tickets for that shared flight as part of its published schedule.
  B. Code -- The U.S. Internal Revenue Code of 1986, as amended.
  C. DOT -- U.S. Department of Transportation.
  D. FAA -- U.S. Federal Aviation Administration.
  E. Fare Rules -- The rules and requirements associated with a ticket.
  F. IATA -- International Air Transport Association.
  G. No-Show Cancellation -- The automatic cancellation of a passenger’s ticket upon such passenger failing to
     either (i) check-in for such passenger’s flight, or (ii) board such passenger’s flight, in either instance within
     the required times. The automatic cancellation will apply to all subsequent flights, including return flights, on
     the itinerary. Presentation of a ticket by someone other than the named passenger renders the ticket void
     and the ticket will then be treated as a No-Show Cancellation for all purposes of this Contract of Carriage (see
     section 20. )
  H. Qualified Individual with a Disability -- An individual with a disability who: (i) has a physical or mental
     impairment that, on a permanent or temporary basis, substantially limits one or more major life activities; (ii)
     has a record of such an impairment; or, (iii) is regarded as having such an impairment, as further defined in
     14 CFR 382.5.
  I. Standby Passenger -- A passenger boarded subject to availability of seat space at departure time and only
     after all passengers having confirmed reservations for the flight have been boarded.
  J. Stopover -- An intentional interruption in a passenger’s trip in excess of 4 hours at a point between the place
     of departure and the final destination.
  K. STRETCH Seat - A seat located in the front rows and exit rows of certain Frontier aircraft that have additional
     legroom. These seats are made available to passengers for a fee.
  L. Ticket -The record of agreement, including electronic tickets, for passenger air transportation provided by the
     airline under certain terms and conditions to the passenger as described on the ticket, in the fare rules, and
     in this Contract of Carriage.
  M. TSA -- U.S. Transportation Security Administration.


Introduction                                                                                               Pg. 2 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 67
                                        of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20


3. Refusal to Transport and Special Conditions

  A. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case Frontier will provide a refund
     of the amount paid for their ticket, which will be the limit of Frontier's liability.
     1) Government Request -- To comply with a government requisition of space or request for emergency
        transportation, e.g., in connection with national defense or natural disaster (actual, threatened or
        reported).
     2) No Seat for Safety Assistant - If a passenger requires a safety assistant (see section 3. B.6) and there is
        not a seat available on the applicable flight and, thus, both the passenger and the safety assistant are
        denied transportation. For purposes of determining whether a seat is available for a safety assistant, the
        safety assistant is deemed to have checked in at the same time as the individual with the disability.
  B. Frontier may refuse to provide transportation to any person and may require that a passenger leave an
     aircraft or be removed from an aircraft for the following reasons, in which case no refund will be due and
     Frontier will have no further liability.
     1) Government Direction - To comply with a direction of a government official acting in their official capacity
        to remove or not provide transportation to a specific individual.
     2) Identification -- The passenger refuses to produce a government-issued identification as required by
        Frontier's representatives or as required by law.
     3) Passports/Visas -- The passenger intending to travel across any international border fails to possess and
        present all valid documents (passports, visas, certificates, etc.) required by the laws of the countries
        from, over or into which the passenger will fly, which will in all cases be the passenger’s exclusive
        responsibility.
     4) Failure to Check In or Appear - The passenger fails to check-in for their flight within the required times or
        appear for boarding of that flight within the required times. (The ticket will be deemed to be a No-Show
        Cancellation (see Section 2.G) and canceled. All subsequent flights, including return flights, on the
        itinerary will also be treated as No-Show Cancellations (see Section 20)).
     5) Special Medical Requirements -- The passenger will be refused transport if he or she requires medical
        equipment be used in flight or services (i) not provided by Frontier, (ii) that may not be used in flight, or
        (iii) does not have sufficient supplies therefor. The foregoing includes any medical equipment that would
        require use of power from the aircraft, medical equipment for which the passenger does not have
        sufficient batteries for the duration of the flight plus unexpected delays. Passengers must be able to sit
        in a single seat with the seat in the full and upright position, which precludes passengers that must lie
        flat or that must be transported on a stretcher. Frontier does not provide medical oxygen.
              EXCEPTION: A respiratory device (e.g., ventilator, respirator, CPAP machine or Portable Oxygen
              Concentrator) is considered an assistive device and is permitted as carry-on or checked baggage at no
              charge provided that all batteries must be transported in carry-on baggage and must be packaged in
              a manner that protects them from physical damage and short circuits, and provided that if the device
              is to be used in flight: (i) the passenger must carry enough fully-charged batteries to power the device
              throughout the entire journey including all ground time (between connections), the duration of the flight
              and for unexpected delays, (ii) the device must be approved by the FAA with stickers indicating such,
              and (iii) prior to traveling, the passenger must complete the Portable Oxygen Concentrator Medical
              Authorization form (30881) available on Frontier's website or obtain a medical statement from his/her
              physician addressing the points on the POC Medical Authorization form.

Pg. 3 of 24                                                            Refusal to Transport and Special Conditions
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 68
                                    of 89



CONTRACT OF CARRIAGE                                                                               Rev74 05/14/20

           NOTE:       Passengers are referred to 14 CFR Part 121, SFAR No. 106 for regulations regarding and
                       a list of Portable Oxygen Concentrators that are approved for use on aircraft.
     6) Qualified Individual with a Disability -- If transportation is refused because the passenger fails to comply
        with the following: Qualified individuals with a disability will be transported in accordance with the
        conditions and requirements of 14 C.F.R. § 382 unless the carriage of such individuals may impair the
        safety of the flight or violate Federal Aviation Regulations. Pursuant to 14 C.F.R. § 382.113, Frontier does
        not provide certain extensive in flight special services such as assistance in actual eating, assistance
        within the lavatory or at the individual's seat with elimination functions, or provision of medical services.
        Moreover, pursuant to 14 C.F.R. § 382.29, a qualified individual with a disability may be required to be
        accompanied by a safety assistant as a condition of being provided air transportation in any of the
        following circumstances: (i) when the individual, because of a mental disability, is unable to comprehend
        or respond appropriately to safety instructions from employees, including the required safety briefing, (ii)
        when the individual has a mobility impairment so severe that the individual is unable to assist in his/her
        own evacuation of the aircraft, (iii) when the individual has both severe hearing and severe vision
        impairments, if the individual cannot establish some means of communication with employees adequate
        to permit transmission of the required safety briefing, (iv) on the day of departure, if it is determined that
        an individual meeting the criteria of (i), (ii) or (iii) must travel with a safety assistant, contrary to the
        individual's self-assessment that he/she is capable of traveling independently, the safety assistant will
        not be charged to accompany the individual with a disability.
     7) Prisoners - If transportation is refused because of a failure to comply with the following: Frontier accepts
        up to two “low risk” prisoners with hand restraints per flight. If the flight is 4 hours or less, at least one
        armed or unarmed law enforcement officer must accompany the prisoner(s). If the flight is more than 4
        hours, at least two armed or unarmed law enforcement officers must accompany the prisoner(s). At no
        time may any prisoner be left unattended. No prisoners are accepted on codeshare itineraries.
     8) Resistant Prisoners - Any prisoner who has resisted or is reasonably believed to be capable of resisting
        his/her escort.
     9) Proper Attire - Any passenger who is barefoot and over 5 years of age, unless required to be barefoot for
        medical reasons, or who is not otherwise fully clothed.
     10) Intoxication - Any passenger who appears to be intoxicated or under the influence of drugs.
     11) Communicable Disease or Infection - A passenger who has a communicable disease or infection (that is
         known or reasonably believed to pose a direct threat to the health or safety of others in the course of
         flight) may be denied boarding by Frontier. If such a passenger presents a medical certificate dated within
         10 days of the date of the flight for which it is being presented that includes specific conditions under
         which the individual can travel and not pose a direct threat to the health and safety of other persons,
         transportation will be provided to such individual unless it is not reasonable or feasible to implement the
         conditions set forth in the medical certificate as necessary to prevent the transmission of the disease or
         infection to other persons in the normal course of flight. Unacceptable measures include, but are not
         limited to: a required separation between the passenger and other persons, use of medical equipment
         not permitted to be used on the aircraft, or a requirement that any other passenger wear protective gear.




Refusal to Transport and Special Conditions                                                               Pg. 4 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 69
                                        of 89



CONTRACT OF CARRIAGE                                                                                  Rev74 05/14/20

         a) 2019 Novel Coronavirus (COVID-19) – Frontier may screen passengers during the check-in and
            boarding process, and may deny boarding to passengers who Frontier reasonably believes do not
            meet Frontier’s COVID-19 screening measures. Screening will include, but is not be limited to:
            completion of a health acknowledgment, required wearing of facial coverings, and submission to a
            temperature check. Notwithstanding Section 11 above, a passenger who presents a medical
            certificate dated within 10 days of the date of the flight for which it is being presented may be denied
            boarding if, on the planned date of travel, the passenger fails to meet Frontier’s COVID-19 screening
            measures.
     12) Refusal or Inability to Sit - Any passenger who is unwilling or unable to sit in an upright position during
         takeoff and landing with the seat belt fastened.
     13) Failure to Follow Instructions - Any passenger who refuses to obey instructions from an employee or
         crewmember.
     14) Use of Ticket Issued to Other Person - Any passenger who attempts to use a ticket not issued to that
         person. (This ticket will be deemed to be a No-Show Cancellation (see Section 2.G) and canceled. All
         subsequent flights, including return flights, on the itinerary will also be treated as No-Show Cancellations
         (see Section 20)).
     15) Interference - Any passenger who interferes with any member of the flight crew in pursuit of their duties
         or attempts to do so.
     16) Smoking - Any passenger who smokes or attempts to smoke on an aircraft.
     17) Weapon - Any passenger who, except as permitted by law (see 49 C.F.R. § 1544.219), wears or has on or
         about their persons concealed or unconcealed, deadly or dangerous weapons.
     18) Purchase in Violation of Contract of Carriage - Any passenger that purchases a ticket in violation of this
         Contract of Carriage or any fare rule. In addition, Frontier may (i) invalidate the tickets or any other that
         may have been purchased in the same manner, (ii) cancel any remaining portion of the passenger's
         itinerary, or (iii) confiscate any unused portions of the ticket.
     19) General Refusal - Any person whom Frontier has informed is not permitted to purchase transportation
         from Frontier.
  C. Refusal to Sell Transportation - Frontier may refuse to sell transportation to any person, including the
     following, and may inform such persons that they are not permitted to purchase transportation from Frontier:
     1) Refusal to Comply - A person who refuses to comply with instruction given by employees or
        representatives prohibiting the solicitation of items for sale or purchase, including airline tickets, passes,
        or travel award certificates.
     2) Prior Conduct - A person who has disrupted airline operations, mistreated employees, or has not complied
        with Frontier's policies or otherwise violates this Contract of Carriage.
     3) Misconduct - A person who has committed a fraudulent act against Frontier.
  D. Customer of Size - If, in Frontier's sole judgment, a passenger is unable to sit in an aircraft seat without lifting
     either or both armrests and occupying all or a portion of the adjacent seat(s), or encroaching into the aisle or
     adjacent seat(s), the passenger will be required to purchase a ticket for an additional seat (or more, if
     required to accommodate the passenger) at the price then applicable. If sufficient, contiguous seats are not
     available, the passenger will be given the option to switch to flights on which such seats are available (for
     which applicable fees will apply) or be given a refund.




Pg. 5 of 24                                                             Refusal to Transport and Special Conditions
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 70
                                    of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20

  E. Allergies (Peanut, Pet, or Chemical) - Items are not removed from the aircraft to accommodate a passenger's
     allergy to a particular food, substance, or chemical. A variety of snacks are served on board many flights,
     including products that may contain peanuts or other nuts. A “peanut-free” or “chemical-free” environment
     cannot be provided to passengers onboard the aircraft. Passengers are advised to consult a healthcare
     professional regarding the risks of onboard exposure to any allergen.
  F. Pregnancy - Passengers who are pregnant are urged to consult with their doctor on whether it is safe to travel
     by air, including with due consideration to the possibility of turbulence, cabin pressurization, significantly
     increased risk of deep vein thrombosis associated with pregnancy, and lack of ready access to medical care.
     This is particularly important for women in their ninth month of pregnancy, who are urged to obtain an
     examination from their physician shortly before flying to confirm air travel will be safe. Women with a history
     of complications or premature delivery should not fly if pregnant. By traveling with Frontier, pregnant women
     acknowledge and accept these risks.Different policies for passengers who are pregnant may apply on any leg
     of a codeshare flight that is operated by the codeshare airline.
  G. Electronic Surveillance of Passengers and Baggage - Passengers and their baggage are subject to inspection,
     including via electronic means, with or without the passenger's consent or knowledge.
  H. Diversion - In the event that Frontier is required to divert an aircraft because a passenger requires medical
     attention or due to the passenger's conduct, the passenger may be required to reimburse Frontier for the
     costs that Frontier incurs, including the cost to accommodate other passengers. The amount due will be as
     determined by Frontier.

4. International Transportation

  A. Compliance with Regulations - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements of countries to be flown from, into, or over. Frontier is not liable for any aid or information given
     by any agent or employee to any passenger in connection with obtaining necessary documents or complying
     therewith (including as may be provided in this Contract of Carriage) or the consequences to any passenger
     resulting from his/her failure to obtain such documents or to comply with such laws, regulations, orders,
     demands, requirements, or instructions.
  B. Compliance with Foreign Country Regulations regarding Importation of Goods - Passengers shall comply with
     all laws, regulations, orders, demands, or travel requirements of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from his/her failure to comply with such
     laws, regulations, orders, demands, requirements, or instructions.
  C. Customs Inspection - If required, a passenger must attend the inspection of his/her baggage, checked or
     unchecked, by customs or other government officials. Frontier accepts no responsibility to the passenger if
     they fail to observe this condition.
  D. Government Regulation - No liability shall attach to Frontier if, based on what it understands to be applicable
     law, government regulation, demand, order or requirement, it refuses to carry passenger. If, however, it is
     ultimately determined that Frontier was incorrect, the limit of its liability will be to refund the amount paid for
     the ticket on which transportation was refused.
  E. International Operations - Frontier is required to make an attempt to obtain emergency contact information
     from a passenger traveling into or out of a foreign country. If a passenger refuses to provide emergency
     contact information, Frontier will document the attempt and may require the passenger to sign the document.




International Transportation                                                                                Pg. 6 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 71
                                        of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20
  F. Indemnification - A passenger shall indemnify Frontier for any loss, damage, or expense suffered or incurred
     by Frontier by reason of the passenger's failure to possess any required travel documents or other failure to
     comply with the provisions of this section, including the applicable fare if Frontier is required to transport the
     passenger home from a country. Frontier is not liable to the passenger for loss or expense due to the
     passenger's failure to comply with this provision.
  G. Baggage Limitation - Passengers shall comply with all laws, regulations, orders, demands, or travel
     requirements regarding baggage size and weight limitations of countries to be flown from, into, or over.
     Frontier is not liable for the consequences to any passenger resulting from his/her failure to comply with such
     laws, regulations, orders, demands, requirements, or instructions.

5. Child Passengers

  A. Accompanied Children -- Children from 7 days through 14 years of age may travel with another passenger who
     is at least 15 years old.
  B. Unaccompanied Children
     1) Frontier does not allow children under the age of 15 years old to travel unaccompanied; they must be
        accompanied by a passenger who is at least 15 years old. Passengers who are 15 years old or older may
        travel on Frontier without an adult companion. A birth certificate, official school ID, or other form of ID may
        be requested for age verification purposes if the child's age appears questionable.
       NOTE:          Passengers under age 18 traveling without both parents may need additional documentation
                      to travel across international borders, depending on the country's requirements.
  C. Infant and Child Fares (except as otherwise provided in a specific fare rule) are as follows:
     1) Infants under 2 years of age are accepted, without charge, when the infant does not occupy a separate
        seat and is accompanied by a fare-paying passenger at least 15 years old. A birth certificate may be
        requested for age verification purposes if the infant’s age appears questionable.
              NOTE:      Due to supplemental equipment considerations, the number of infants accepted per flight
                         may be limited based on aircraft type.
     2) One adult may accompany up to two infants under the age of 2.
         a) When an adult passenger is traveling with two infants under 2 years of age, a seat must be purchased
            for at least one infant. The fare is the same as an adult fare.
     3) Children 7 days - 14 years of age occupying a seat are charged the same fare as an adult passenger.
              NOTE:      Passengers under age 2 traveling as lap children (not purchasing a seat) are subject to
                         international taxes. These taxes must be paid prior to boarding the originating departure
                         flight.
  D. Child Restraint Systems - Frontier accepts infant and child restraint systems (car seat or harness) approved
     for air travel that fit in the applicable aircraft seat with the arm rest down that meet the following
     requirements:
     1) Approved seats manufactured to U.S. standards between January 1, 1981, and February 25, 1985, must
        bear the label: “This child restraint system conforms to all applicable Federal motor vehicle safety
        standards.”
     2) Seats manufactured to U.S. standards on or after February 26, 1985, must bear two labels: (i) “This child
        restraint system conforms to all applicable Federal motor vehicle safety standards” and (ii) “THIS
        RESTRAINT IS CERTIFIED FOR USE IN MOTOR VEHICLES AND AIRCRAFT” in red lettering.

Pg. 7 of 24                                                                                         Child Passengers
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 72
                                    of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

     3) Seats not meeting the above criteria must bear a label or markings showing: (i) the seat was approved by
        a foreign government, (ii) the seat was manufactured under the standards of the United Nations, (iii) the
        seat or child restraint device furnished by the certificate holder was approved by the FAA through Type
        Certificate or Supplemental Type Certificate, or (iv) the seat or child restraint device was approved by the
        FAA in accordance with 14 C.F.R § 21.8(d), or FAA Technical Standard Order C-100b, or a later version.
              NOTE 1:    A child under the age of 2 must be held in the passenger's lap or be seated in an approved
                         car seat for taxi, takeoff, and landing.
              NOTE 2:    Frontier encourages all adults traveling with infants under 2 years of age to secure the
                         infant in an approved car seat or harness in the infant's own purchased seat.
     4) Child Harness - The FAA-approved AMSafe Aviation C.A.R.E.S. child harness device may be used on-board
        the aircraft. It is designed for children weighing between 22 and 44 pounds (between 10 and 20
        kilograms) and must bear the label “FAA Approved in accordance with 14 CFR 21.305(d) approved for
        aircraft use only.”
     5) Car Seats - A car seat may be used by a child between the ages of 7 days and 2 years if seat space is
        available after boarding, even if a seat has not been purchased for the child. A car seat may be used by
        any child when a separate seat has been purchased. To use a car seat onboard the aircraft:
         a) It must bear manufacturer labels identifying approval for aircraft use, as described in subsection (1)
            and (2) above.
         b) It must have a solid seat and solid back.
         c) It must have restraint straps installed to hold the child in the car seat.
         d) The child may not exceed the weight limitation of the car seat.
         e) It may not be placed in the emergency exit rows, in the seats immediately in front of or behind the exit
            rows, or in any seat that has an airbag seatbelt installed.
         f)    Window seats are the preferred location for a car seat, so it does not impede a passenger's movement
               or egress into the aisle. Other seat assignments are permitted provided the car seat is not obstructing
               the egress of any passenger.
         g) It must be secured by a seat belt at all times.
     6) Booster Seats - Booster seats may be carried on-board aircraft but must be stowed in an overhead
        compartment or underneath the seat for take-off and landing. Once the aircraft has reached cruising
        altitude, the passenger may use the seat during the flight. The booster seat must be stowed when the
        aircraft begins its descent.

6. Service Animals

  A. General - The following categories of service animals are allowed in the cabin without charge.
     1) Trained service animals assist passengers with disabilities. As evidence that an animal is a trained
        service animal, the passenger must present an identification card or other written documentation, the
        animal must have a harness, tag, or the passenger must give credible verbal assurances that he/she is
        a qualified individual with a disability using the animal. Only dogs, cats or miniature horses will be
        accepted as trained service animals. The animal must be at least 4 months old. The passenger is
        required to keep the animal under control at all times, with the animal on a leash or harness while in the
        boarding area and onboard the aircraft. Psychiatric support animals are recognized as trained service
        animals.
Service Animals                                                                                           Pg. 8 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 73
                                        of 89



CONTRACT OF CARRIAGE                                                                                  Rev74 05/14/20

     2) Emotional support animals provide support for passengers with mental health-related disabilities. Only
        dogs or cats, at least 4 months old, will be accepted as an emotional support animal. Only one emotional
        support animal per passenger will be allowed. The passenger must keep the animal under control at all
        times, with the animal on a leash, harness or in a carrier while in the boarding area and onboard the
        aircraft. As evidence that the animal is required for that purpose, the passenger must present:
       a.      A Frontier Medical/Mental Health Professional Information form completed by a mental health
              professional (e.g., psychiatrist, psychologist, licensed clinical social worker, including a medical doctor
              specifically treating the passenger's mental or emotional disability) stating the following:
              (i) the passenger has a mental or emotional disability recognized in the Diagnostic and Statistical
              Manual of Mental Disorders — Fourth Edition (DSM IV),
              (ii) the passenger needs the emotional support animal as an accommodation for air travel or for
              activity at the passenger's destination,
                   (iii) the individual providing the assessment is a licensed mental health professional, and the
              passenger is under his or her professional care, and
                   (iv) The date and type of the mental health professional's license and the state or other jurisdiction
              in which it was issued.
              b. A Frontier Veterinary Health Form completed and signed by Veterinary Professional indicating the
              following:
                   (i) Rabies Vaccine Given (date)
                   (ii) Rabies Vaccine Valid Through (date)
                   (iii) Veterinarian License number
                   (iv) Date Veterinarian License Issued
                   (v) State License Issued In
                   (vi) Name of Practice
                  (vii) Phone
              c. A Frontier Passenger Acknowledgment form completed and signed by the passenger.

       These forms must be completed and submitted 48 hours prior to departure.


     3) Service Animals trained in explosive detection, contraband search, or search and rescue on active duty
        and traveling for that purpose will be accepted for travel. The passenger must present credible
        documentation the animal is traveling for that purpose.
  B. Seating - The passenger may sit anywhere, except in an emergency exit row, provided the animal does not
     obstruct an aisle or egress of passengers in an emergency evacuation. The animal must fit under the seat or
     on the passenger's lap. If the passenger is seated in row 1, the animal will not be allowed on the passenger's
     lap. The animal may not occupy a seat. An animal that cannot or does not comply with the foregoing will not
     be accepted.
  C. International - Restrictions for travel with an animal to international destinations vary by country. Frontier
     recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel with a
     service animal or emotional support animal. Different policies may apply on any leg of a codeshare flight that
     is operated by the codeshare airline.
  D. Oxygen - No oxygen will be administered to a service animal in the event of an emergency.



Pg. 9 of 24                                                                                            Service Animals
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 74
                                    of 89



CONTRACT OF CARRIAGE                                                                               Rev74 05/14/20

7. Smoking

 A. Smoking is prohibited on all flights.
 B. Federal law prohibits tampering with, disabling, or destroying any smoke detector installed in an aircraft
    lavatory.
 C. The use of electronic smoking devices is prohibited at all times on all aircraft.

8. Tickets

 A. A passenger is entitled to transportation only upon presentation of a valid electronic ticket (e-ticket). The
    ticket entitles the passenger to transportation between the point of origin and the destination.
  NOTE:        Paper tickets are not issued on Frontier ticket stock. Only electronic tickets are issued for travel on
               Frontier. However, paper tickets from other airlines may be accepted for travel at Frontier's
               discretion.
 B. Tickets are honored only in the order in which they are issued.
 C. The following practices are prohibited:
    1) Back to Back Ticketing -- The purchase or use of portions of tickets from two or more tickets issued as
       round-trip fares or other scheme for circumventing minimum stay requirements.
    2) Throwaway Ticketing -- The purchase or use of round-trip tickets for one-way travel.
    3) Hidden City/Point Beyond Ticketing -- The purchase or use of a ticket from a point before the passenger's
       actual origin or to a point beyond the passenger's actual destination.
 D. A ticket which has not been properly issued or paid for, or which has been altered, mutilated, or improperly
    issued by an unauthorized party is not valid for travel or refund.
 E. The purchaser of a ticket and the passenger intending to use it are responsible for ensuring that the ticket
    accurately states the name of the passenger.
 F. A ticket may only be used by the person named on the ticket. Frontier is not liable to the purchaser of a ticket
    if the ticket is used by someone other than the person named on the ticket.
 G. Presentation of a ticket by someone other than the named passenger renders the ticket void. The ticket is
    subject to confiscation, and the ticket will then be treated as a No-Show Cancellation for all purposes of this
    Contract of Carriage (see section 20. )
 H. An additional processing fee will apply to each ticket purchased or changed via Frontier's reservation center
    or at its airport counters, except (i) tickets purchased by an Elite member for themselves (a fee does apply to
    purchases by such members for others), and (ii) issuing an international ticket for infant taxes for an infant
    not occupying a seat.

9. Ticket Validity and Itinerary Changes

 A. Period of Validity




Smoking                                                                                                 Pg. 10 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 75
                                        of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20

     1) Tickets issued by Frontier are valid for transportation only on the flights and dates shown on the ticket
        and have no value and are not valid for transportation thereafter. If a passenger cancels a ticket before
        the scheduled flight departure time, the value of the ticket less a service fee will be retained for 90 days
        from the date of cancellation of the ticket in the form of an electronic credit. The credit has no cash or
        refund value and may only be applied to a single subsequent ticket on a Frontier flight for the same
        passenger as the original ticket. In the case of a No-Show Cancellation, see section 20.
     2) Except as required by law or as provided in this Contract of Carriage, Frontier shall have no obligation of
        any kind to reschedule any passenger(s) who cancels a ticket before the scheduled flight departure time
        or to provide them with any refund or other credit for unused tickets.
     3) Except as required by law or as provided in this Contract of Carriage, in the case of a No-Show
        Cancellation, Frontier shall have no obligation of any kind to reschedule any such passenger(s) on any
        other flight, and the rules respecting No-Show Cancellations shall apply (see section 20. )
  B. Except for tickets purchased for travel within 7 days (168 hours) of purchase, all tickets may be canceled
     within twenty-four (24) hours of the purchase and a full refund will be given. After that time, except for tickets
     that are purchased as refundable, all tickets are non-refundable.

10. Check-in Times

  A. Airport Check-In - It is the passenger's responsibility to arrive at the airport, taking into consideration travel
     time both to and within the applicable airport, including processing through the security check point with
     enough time to complete check-in and security screening processes.
  B. Passengers can check in beginning 2 hours before departure at Frontier's airport check-in counters or 24
     hours before departure at www.FlyFrontier.com or on the Frontier mobile app, if the reservation is eligible for
     online or mobile app check-in.
  C. Check-In Times
     1) For domestic flights (originating and to a destination within the United States), the passenger must be
        checked in with a printed boarding pass or a Frontier mobile app boarding pass in-hand at least 45
        minutes prior to scheduled departure whether or not checking bags.
     2) For international flights, the passenger must be checked in with a printed boarding pass or a Frontier
        mobile app boarding pass in-hand at least 60 minutes prior to scheduled departure.
  D. Time Limit for Checking Bags - Baggage to be checked must be presented at the airport within the minimum
     check-in time. Passengers who present baggage after the minimum check-in time may be refused transport.
     At some airports, the counter may close at the check-in cut-off time, in such cases, passenger and baggage
     check-in are not permitted after the check-in deadline. In the event that baggage is accepted after the
     minimum check-in time, the passenger will be liable for any costs and fees for the bag to be delivered in the
     event that it is not carried on the same flight.
  E. Availability for Boarding - Tickets and seat assignments are subject to cancellation for passengers who fail to
     make themselves available for boarding at the departure gate at least 20 minutes prior to scheduled
     departure.
  F. Failure to Check In or Appear - If a passenger fails to check in or board the flight within the required time, the
     ticket will be deemed to be a No-Show Cancellation (see Section 2.G) and canceled. All subsequent flights,
     including return flights, on the itinerary will also be treated as No-Show Cancellations (see Section 20).



Pg. 11 of 24                                                                                           Check-in Times
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 76
                                    of 89



CONTRACT OF CARRIAGE                                                                              Rev74 05/14/20

  G. Misconnected Passengers - The ticket of any passenger who does not meet the minimum check-in time due
     to the late arrival of an inbound connecting flight operating by Frontier will be accommodated on the next
     available flight operated by Frontier to the same destination. Frontier will not provide transportation on
     another airline or reimburse the cost of transportation purchased from another airline. The ticket of any
     passenger who does not meet the minimum check-in time due to the late arrival of an inbound connecting
     flight operated by any other airline will be canceled and no refund or accommodation on another flight will be
     due unless available and purchased at the applicable price by the passenger.

11. Fares

  A. Fares apply for transportation only between the airports for which they are published.
  B. When a passenger requires connecting service with arrival at one airport and departure from another airport,
     transportation between those airports must be arranged by and at the expense of the passenger.
  C. Fares are subject to change without notice until a ticket is issued.

12. Checked Baggage

  A. Fees applicable to checked baggage:
     1) Baggage fees apply to each checked bag.
     2) Active U.S. military personnel, with Common Access Card (CAC), may check two bags at no charge for all
        types of tickets. Overweight and/or oversize charges for the first two free bags are also waived. This policy
        is for active U.S. military personnel only and does not extend to family members or traveling companions.
  B. Baggage Allowance Exceptions - The following may be checked or carried on at no charge and do not count
     toward the passenger's baggage allowance.
     1) Medical Assistive Devices - Canes, crutches, braces, wheelchairs, etc. for the use of the passenger. There
        is no limit to the number of mobility aids a passenger may check. Medical assistive devices must be
        packed separately, in protective packaging, for baggage fees to be waived.
     2) Wheelchairs - In compliance with federal law, wheelchairs or other types of mobility devices for the
        passenger are accepted as checked baggage in addition to the passenger's baggage allowance at no
        additional charge. Certain Frontier aircraft can accommodate up to two wheelchairs up to 40 inches (101
        cm) high, 50 inches (127 cm) long, 13 inches (33 cm) wide and weighing no more than 70 pounds (31
        kilograms) in the cabin of the aircraft on a first-come, first-served basis. Wheelchairs carried in the cabin
        of the aircraft will be brought to the front of the aircraft after all other passengers have deplaned.
     3) Essential Infant or Child Items - Child restraint devices, car seats, strollers, diaper bags, and other
        essential baby items when the infant is traveling. These items must be packed separately, in protective
        packaging, for baggage fees to be waived.
  C. Acceptable Baggage - Frontier will accept for transportation as baggage such personal property necessary or
     appropriate for the wear, use, comfort, or convenience of the passenger for the purpose of the trip, subject
     to the following:
     1) Checked baggage may not exceed 62 inches (157 cm) in linear dimension (height plus length plus width),
        nor more than 180 inches (457 cm) in any of those dimensions or weigh more than 50 pounds (22.6
        kilograms). Additional fees apply to items that exceed those size and weight limitations. Baggage
        weighing 100 or more pounds (45 kilograms) is not accepted.

Fares                                                                                                   Pg. 12 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 77
                                        of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

NOTE 1:     For baggage checked to or from Canada, no baggage weighing more than 70 pounds (31.75
            kilograms) will be accepted.
     2) The TSA website maintains a list of items that passengers are not permitted to check in baggage. See
        www.tsa.gov for a complete list. Baggage containing any items on that list will not be accepted.
     3) An item for transportation not suitably packaged to withstand ordinary handling and turbulence, or of a
        size, weight or character that renders it unsuitable for transportation will not be accepted.
     4) The passenger is responsible for ensuring that all items packed in checked baggage are properly
        packaged and padded to resist handling and turbulence. (Refer to section 17. )
     5) All baggage is subject to inspection by Frontier. Frontier is not, however, obligated to perform an
        inspection. Frontier will refuse to transport or will remove baggage if the passenger refuses to submit the
        baggage for inspection.
     6) Frontier will not accept baggage or other personal property for storage.
     7) Frontier will check baggage only when the passenger presents a valid ticket for transportation on the
        applicable flight.
     8) The passenger's name, address and telephone number must appear on the baggage.
     9) Frontier has the right to refuse to transport baggage on any flight other than the one carrying the
        passenger.
     10) Baggage will not be checked:
          a) To a point that is not reflected on the passenger's ticket.
          b) Other than the passenger's destination on the applicable flight, but if the flight is a connecting flight,
             to the final destination, but if that connecting flight is scheduled to depart from an airport different
             from the one at which the passenger is scheduled to arrive then only to the destination of the first leg.
     11) Live animals are not accepted as checked baggage.
     12) Agricultural items, perishable items, or products that do not conform with customs or agricultural
         government law at the flight's destination will not be accepted.
     13) Frontier will not accept for carriage any restricted/hazardous materials as defined in the DOT Hazardous
         Materials Regulations (49 C.F.R. §§ 171-177) and IATA Dangerous Goods Regulations. Examples of such
         goods are (i) liquor products over 140 proof, (ii) gasoline-powered tools, (iii) compressed gases, (iv)
         corrosives (such as acids and wet batteries), (v) explosives (such as dynamite and fireworks), (vi)
         flammables (such as matches and lighter fuels), (vii) poisons, and (viii) magnetic and radioactive
         materials. Electronic smoking devices (commonly referred to as e-cigarettes or personal vaporizers) pose
         a safety risk and are not permitted in checked baggage. These items are permitted in carry-on baggage.
         Spare lithium batteries are not allowed in checked baggage.
     14) Perishable items must be packaged properly such that they cannot leak through their packaging. (Refer
         to section 17. )
  D. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

13. Carry-On Baggage

  A. Passengers are permitted up to two carry-on items:

Pg. 13 of 24                                                                                       Carry-On Baggage
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 78
                                    of 89



CONTRACT OF CARRIAGE                                                                           Rev74 05/14/20

    1) One free personal item not larger than 8" x 14" x 18" (20 cm x 35 cm x 45 cm) that must fit within the
       personal item portion of the bag sizer.
    2) One carry-on item not larger than 10"H x 16"W x 24"L (25 cm x 40 cm x 114 cm) and weighing not more
       than 35 pounds (15 kilograms) that may be placed in the overhead compartment or under the seat. A fee
       for the carry-on item may apply based on the ticket type purchased. Active U.S. military personnel, with
       Common Access Card (CAC), may take a carry-on item free of charge for all types of tickets.
    3) Items that exceed these dimensions or are in excess of the allowance will be gate checked to which a fee
       will apply.
 B. The TSA website maintains a list of items that passengers are not permitted to carry onboard an aircraft. See
    www.tsa.gov for a complete list. Carry-on items containing any items on that list will not be accepted.
 C. The passenger is responsible for all items brought on board the aircraft. Items must be stored under a seat
    or in the overhead compartment.
 D. Use of Portable Electronic Devices (PEDs)
    1) Small authorized PEDs are devices under 2 pounds and are of a size that can easily be placed in a seat
       pocket along with the other materials that are normally found in the seat pocket (Passenger Safety
       Information Card, Menu or airsickness bag). They include devices like tablets, readers and mobile phones
       and may be used during all phases of flight when in airplane mode including taxi, take-off and landing.
       However, if using them during taxi, take-off and landing, you must secure these devices by holding them,
       putting them in your pocket or holster, or placing them in a seatback pocket.
    2) Large authorized PEDs are devices 2 pounds or more such as full-size laptops. They must be turned off
       and stowed during taxi, takeoff and landing. You may stow them under the seat in front of you or in an
       overhead compartment. These devices may be used above 10,000 feet when authorized by a Flight
       Attendant announcement.
    3) On all flights operating outside U.S. airspace, PEDs cannot be used during taxi, takeoff and landing, but
       may be used in airplane mode above 10,000 feet when authorized by a Flight Attendant announcement.
 E. Sound Emitting Devices - Portable electronic devices that emit sound, e.g., music or video players or games,
    may be used only with headphones and provided the sound, even via the headphones, cannot be heard by
    others.
 F. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
    flight will apply to the entire itinerary.

14. Cabin-Seat Baggage

 A. Cargo stowed inside the main cabin of the aircraft and occupying a passenger seat is referred to as “Cabin-
    Seat Baggage.” Cabin-Seat Baggage may be transported on flights operated by Frontier subject to the
    following conditions:
    1) The full fare for the ticket for the applicable seat is paid. There is no carry-on baggage allowance or
       baggage allowance for that ticket. If the Cabin-Seat Baggage must be accommodated into a STRETCH
       seat due to its size or at the passenger's request, the STRETCH seat fee applies.
    2) The Cabin-Seat Baggage must be packaged or covered in a manner to avoid possible injury to passengers
       and crew.
    3) The Cabin-Seat Baggage must be carried aboard the aircraft by the passenger.
    4) The Cabin-Seat Baggage may not weigh more than 100 pounds (45 kilograms).
Cabin-Seat Baggage                                                                                  Pg. 14 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 79
                                        of 89



CONTRACT OF CARRIAGE                                                                              Rev74 05/14/20

     5) The Cabin-Seat Baggage cannot exceed size dimensions of 57" height x 17.84" width x 9.3" depth (144.78
        cm x 45.31 cm x 23.62 cm).
     6) The Cabin-Seat Baggage must fit in the seat without blocking aircraft signage or extending into the aisle
        and be secured with a seatbelt or other approved method.
     7) Certain seats may not accommodate Cabin-Seat Baggage. Frontier will assign seats as appropriate.
     8) Except as provided herein, Frontier is not responsible for damage to Cabin-Seat Baggage.
     9) Cabin-Seat Baggage does not count toward the passenger's baggage allowance.

15. Conditions and Charges for Special Items

 The following items are accepted as checked or carry-on baggage, subject to the conditions specified and
 payment of applicable fees.
   NOTE: Refer to the Sports Equipment and Special/Fragile Items chart hosted at www.FlyFrontier.com for other
         items which have specific packaging or other requirements which need to be met in order to be
         transported by air. All items listed on the Sports Equipment and Special/Fragile Items chart are subject
         to baggage fees. Baggage fees for excess, oversize, and overweight are cumulative and all may be
         assessed on one item.
  A. Firearms -- Firearms are accepted as checked baggage on flights within the United States, but not
     international flights. Carriage of any firearm is subject to the following conditions:
     1) In accordance with federal law, a passenger who presents baggage that contains a firearm must (i)
        ensure the firearm is unloaded, (ii) pack the firearm in a lockable, hard-sided container, (iii) declare the
        firearm unloaded at the time of check-in, and (iv) sign a “Firearms Unloaded” declaration.
     2) If the firearm is in a locked, hard-sided container INSIDE a piece of checked baggage, the declaration
        must be placed inside the checked baggage and proximate to, but not inside of, that container.
     3) If the firearm is in a locked, hard-sided container, but NOT INSIDE a piece of checked baggage, the
        declaration must be placed inside the container.
     4) After screening, the passenger must lock the firearm container and retain the key or combination.
     5) The passenger must make arrangements for and assume full responsibility for complying with any
        applicable laws, customs and government regulations, or restrictions of the state or territory to which the
        firearm is being transported.
  B. Ammunition - Ammunition for firearms (whether or not the firearm is also being carried) is accepted as
     checked baggage on flights within the United States, but not international flights, subject to the following
     conditions:
     1) The ammunition must be securely packed in the original manufacturer's packaging, fiber (such as
        cardboard), wood or metal boxes or other sturdy and durable packaging providing sufficient cartridge
        separation.
     2) Each passenger is allowed up to 11 pounds (4.9 kilograms) of ammunition.
     3) Loaded ammunition clips and magazines must also be securely boxed.
     4) Ammunition may be packed with the firearm.




Pg. 15 of 24                                                           Conditions and Charges for Special Items
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 80
                                    of 89



CONTRACT OF CARRIAGE                                                                               Rev74 05/14/20

  C. Live Animals -- Frontier accepts live animals only in the cabin of the aircraft, not as checked baggage. The
     transportation of live animals is subject to fees for carriage and the terms and conditions below.
       EXCEPTION: See separate rules with respect to service animals referred to in 6. Service Animals.
     1) Only the following animals are permitted:
         a) Domestic Flights -- Domesticated dogs, cats, rabbits, guinea pigs, hamsters, or small household birds.
         b) International Flights -- Domesticated dogs and cats.
     2) The passengers carrying the animal are responsible for making arrangements and assuming full
        responsibility for complying with any applicable laws, customs and other governmental regulations,
        requirements or restrictions of the country, state or territory to which the animal is being transported.
     3) The passengers carrying the animal are responsible for paying any import/export fees, duties or taxes
        that may apply as well as any fines for failing to comply with applicable law.
     4) International - Restrictions for travel with an animal to international destinations vary by country. Frontier
        recommends contacting the appropriate embassy or consulate before purchasing a ticket for travel.
     5) The passengers carrying the animal are responsible for making advance reservations because no more
        than ten pet containers will be accepted per flight.
     6) No passenger may carry more than one pet container.
     7) The animal must remain in a pet container at all times and may not be fed while onboard the aircraft.
     8) The pet container must be large enough for the pet to stand, turn around, and lie down in a natural
        position and fit underneath the seat in front of the passenger.
     9) The animal may not disrupt other passengers and the passenger must be able to quiet the animal without
        removing it from the container.
     10) The container counts toward the carry-on baggage allowance.
     11) No oxygen will be administered to an animal in the event of an emergency.
  D. Human Remains:
     1) Crematory remains (human or animal) may be transported as carry-on or checked baggage subject to the
        following conditions:
         a) The container must be made of a material such as wood or plastic that can be successfully screened
            by the TSA. If the container cannot be screened, it will not be allowed.
         b) If the container is checked, it must be sufficiently packaged in a well-insulated and sturdy container.
         c) If the container is carried onboard the flight, it counts toward the passenger's carry-on allowance and
            it must meet carry-on baggage dimensions.
     2) Human remains in caskets are not accepted.
  E. Dry Ice (frozen carbon dioxide) -- Dry ice may be carried under the following conditions:
     1) A maximum of 5.5 pounds (2.5 kilograms) of dry ice per passenger is accepted in checked or carry-on
        baggage.
     2) The cooler or package must permit the release of carbon dioxide gas. Styrofoam containers are not
        accepted.
  F. Bicycle - Bicycles may be carried under the following conditions:


Conditions and Charges for Special Items                                                                 Pg. 16 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 81
                                        of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

     1) The handlebars must be fixed sideways, and the pedals removed or wrapped in plastic foam or similar
        material and the entire bicycle is encased in a hard-sided case.
     2) Bicycles may only be carried as checked baggage.
     3) A fee applies for each bicycle checked as baggage.
     4) Bicycles are excluded from baggage liability unless packaged in a hard-sided case.
  G. Special Items - The following items may exceed carry-on baggage dimensions but may be taken as a carry-on
     item (and count toward the carry-on bag allowance) as long as they fit in the overhead bin: fishing rods, tennis
     rackets, wedding attire, poster tubes and musical instruments. If any such items are comprised of more than
     one piece, they must be packaged together to be considered one item. The carry-on bag fee applies.
  H. Codeshare Flights – The baggage policy of the airline on which a passenger originally booked the codeshare
     flight will apply to the entire itinerary.

16. Limitations of Liability

  A. Consequential Damages – Unless it is specifically stated otherwise in this Contract of Carriage, or as required
     by any applicable law, Frontier is not liable for any indirect, special or consequential damages arising out of
     or resulting from transportation provided, delay in transportation, or any failure to provide transportation.
  B. International Transportation – With respect to international transportation, as defined in the following
     referenced conventions, as applicable, Frontier’s liability will be limited as specified in, as and if applicable,
     (i) the Convention for the Unification of Certain Rules Relating to International Carriage by Air signed at
     Warsaw, October 12, 1929, as amended (“Warsaw Convention”), but subject to the Agreement entered into
     by Frontier pursuant to 14 C.F.R. Part 203 or (ii) the Convention for the Unification of Certain Rules for
     International Carriage by Air, signed at Montreal, May 28, 1999 (“Montreal Convention”).

17. Claim Limits and Procedures

  A. Limitations of Liability
     1) Domestic Flights – With respect to domestic flights, i.e., those flights originating and ending within the
        United States without any scheduled stops outside of the United States, or international flights to which
        neither the Warsaw Convention or the Montreal Convention apply, Frontier’s limit of liability, if any, for the
        loss, damage or delay in the carriage of checked baggage shall be limited to $3,500 for all bags checked
        under a single ticketed passenger’s name. Frontier will not be liable for:




Pg. 17 of 24                                                                                  Limitations of Liability
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 82
                                    of 89



CONTRACT OF CARRIAGE                                                                             Rev74 05/14/20

        i)   the following items included in checked baggage, with or without the knowledge of Frontier:

             • alcohol                         • dentures                         • natural fur products
             • antiques                        • drugs prohibited by federal      • negotiable papers/
             • art, paintings                    or state law                       instruments
             • art supplies                    • DVDs                             • optics
             • artifacts                       • eyeglasses                       • orthodontics
             • bags made from lightweight      • files                            • orthotics
               material not designed for       • food/perishables                 • photographic/video/
               shipping                        • fragile articles or other          electronic equipment and
             • blueprints                        similar valuable items and         accessories
             • books                             commercial effects               • precious metals or stones
             • business documents              • hand and power tools             • publications
             • CDs                             • heirlooms                        • samples
             • cell phones                     • irreplaceable items              • securities
             • Cigars, cigarettes,             • jewelry                          • silverware
               electronic cigarettes, vape     • keys                             • sound reproduction
               pens                            • machinery and its parts            equipment
             • collectibles                    • manuscripts                      • sunglasses
             • computer equipment              • medication                       • surgical supports
               (including hardware,            • money                            • toys
               software and all
               accessories)

        ii) articles strapped, taped, or tied to other pieces of baggage, which may become separated as a result
            of normal handling during transportation
        iii) damage to the following items when not packed in a hard-sided case or other packing that is suitable
             for the item.
                •   Prosthetic devices
                •   Medical equipment
                •   Musical instruments
                •   Recreational or sporting equipment
                •   Baby items including car seats and strollers
        iv) damage to handles, straps, wheels and zippers arising from normal wear and tear caused by ordinary
            handling of baggage.
        v) damage arising from ordinary wear and tear, such as cuts, scratches, scuffs, stains, dents, punctures,
           marks, and dirt
        vi) damage resulting from over- packing or misuse
        vii) damage arising from liquids on or in baggage; including weather (e.g. rain, snow)
    2) International Flights/Montreal Convention – With respect to international flights to which the Montreal
       Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay in the carriage of
       baggage (whether checked or carry-on) shall be limited to 1,288 Special Drawing Rights per ticketed
       passenger. The conversion rate, available at www.imf.org, in effect on the date of loss will be used for
       determining maximum liability amount.



Claim Limits and Procedures                                                                           Pg. 18 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 83
                                        of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

     3) International Flights/Warsaw Convention – With respect to international flights to which the Warsaw
        Convention applies, Frontier’s limit of liability, if any, for the loss, damage or delay of (i) checked baggage
        shall be limited to 17 Special Drawing Rights per pound, or actual value, whichever is less, (ii) carry-on
        baggage shall be limited to 332 Special Drawing Rights or actual value, whichever is less. The conversion
        rate, available at www.imf.org, in effect on the date of loss will be used for determining maximum liability
        amount. Absent evidence to the contrary, bags will be presumed to weigh 20 pounds.
     4) Frontier does not accept declarations of higher value or accept fees based on such declarations.
     5) Subject to the above specified limits of liability, Frontier will compensate a passenger whose baggage has
        been lost, damaged or delayed for reasonable, documented direct damages up to the specified limit of
        liability, provided the passenger has made reasonable effort to minimize the amount of damage and
        provided documentation of the loss. The compensation due for lost or damaged property will be
        determined by the lesser of the documented original purchase price less applicable depreciation or the
        cost to make repairs.
     6) Frontier’s liability for wheelchairs, mobility aids, and assistive devices used by a passenger with a
        disability if lost or damaged by Frontier shall be up to the original purchase price of the device without
        regard to the above limitations of liability.
     7) Passengers who incur incidental expenses as a result of delayed baggage delivery will be reimbursed per
        established DOT guidelines, subject to the above limitations of liability (as applicable). Any amounts paid
        to the passenger for incidental expenses will be deducted from the total loss amount prior to check
        issuance.
     8) Frontier will not be liable for loss or damage to carry-on baggage unless such damage is caused by
        Frontier’s or its agent’s negligence, which does not include damage resulting from turbulence, shifting of
        items during flight, or ordinary handling, including placing the baggage in overhead compartments or
        under seats.
     9) Frontier’s employees and agents are not liable to passengers.
  B. Time Limit to Make Claims and Procedures
     1) With respect to domestic flights and those international flights to which the Montreal Convention does
        not apply, any claim based on damage, delay or loss of baggage must be reported to Frontier within 4
        hours of the arrival of the flight on which the loss or damage is claimed to have occurred. Claims for
        pilferage may be made up to 24 hours after flight arrival. Any documentation required to support the claim
        must be submitted within 30 days from the date the requesting passenger receives the claim form packet
        from Frontier; Frontier will not be liable if the completed claims are not submitted, with documentation,
        within that time period.
     2) With respect to international flights to which the Montreal Convention applies, in the case of baggage
        damage, the person entitled to delivery must submit in writing to Frontier as soon as possible after
        discovery of the damage, and at the latest in writing 7 days from receipt of checked baggage and in the
        case of delay or loss, complaints must be made at the latest within 21 days from the date on which the
        baggage has been placed at the passenger’s disposal or should have been placed at his/her disposal in
        the case of loss. All claims must be made in writing and must be accompanied by supporting
        documentation. Any subsequent request for documentation from Frontier must be provided to Frontier
        within 21 days of the request.




Pg. 19 of 24                                                                           Claim Limits and Procedures
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 84
                                    of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20

18. Failure to Operate on Schedule or Failure to Carry

  A. Liability Limited - Frontier will use reasonable efforts to transport passengers and baggage to the purchased
     destination, but published schedules, flight times, aircraft types, seat assignments, and similar details set
     forth in the ticket or Frontier’s published schedules are not guaranteed and form no part of this Contract of
     Carriage. Frontier may substitute alternate aircraft, change schedules, delay or cancel flights, change seat
     assignments, and alter or omit stopping places shown on the ticket as required by its operations in Frontier’s
     sole discretion. Frontier’s obligations for failure to operate any flight, failure to operate a flight according to
     its schedule, or for changing the schedule or type of equipment used on any flight, with or without notice to
     the passenger, are set forth below.
  B. Force Majeure - In the occurrence of a force majeure event, Frontier may cancel, divert, or delay any flight
     without liability except to provide a refund for the unused portion of the ticket.
  C. Delay, Misconnection, or Cancellation - In the event (i) a passenger's flight is canceled, (ii) a passenger is
     denied boarding because an aircraft with lesser capacity is substituted, (iii) a passenger misses a connecting
     Frontier flight due to a delay or cancellation of a Frontier flight (but not flights of other carriers), (iv) a
     passenger is delivered to a different destination because of the omission of a scheduled stop to which the
     passenger held a ticket, to the extent possible, Frontier will provide transportation on its own flights at no
     additional charge to the passenger’s original destination or equivalent destination as provided herein.
     Frontier will have no obligation to provide transportation on another carrier. If Frontier cannot provide the
     foregoing transportation, Frontier shall, if requested, provide a refund for the unused portion of the
     passenger's ticket in lieu of the transportation under the foregoing. The foregoing shall be the limit of
     Frontier's liability for the matters covered by this provision.
  D. For purposes of involuntary reroute, the following groups of cities are considered to be the same point. If
     Frontier is able to provide transportation to one of the specified alternative cities, Frontier has met its
     obligation for transport to the final destination.
                 •   Chicago-O’Hare (ORD) /Milwaukee (MKE)
                 •   Ft. Lauderdale (FLL) /West Palm Beach (PBI) / Miami (MIA)
                 •   Los Angeles (LAX) /Orange County (SNA)
                 •   Madison (MSN)/Milwaukee (MKE)
                 •   New York La Guardia (LGA) /Trenton (TTN) /Philadelphia (PHL)
                 •   Orange County (SNA) /San Diego (SAN)
                 •   Orlando (MCO) /St. Augustine (UST)
                 •   Orlando (MCO) /Tampa (TPA)
                 •   Washington Dulles (IAD) /Washington National (DCA)
  E. Schedule Change Prior to Day of Travel -- When a passenger’s itinerary is changed because of a modification
     in Frontier’s schedule, arrangements will be made to:
     1) Transport the passenger over its own route system to the destination; or
     2) In the event Frontier determines that the schedule modification is significant, Frontier shall, if requested,
        provide passengers a refund of the cost of the unused portion of the ticket.
  F. Extended Onboard Ground Delays -- In accordance with FAA regulations, Frontier maintains and complies with
     a separate Contingency Plan for Lengthy Tarmac Delays. Frontier's Contingency Plan for Lengthy Tarmac
     Delays may be found on Frontier's website at 
     https://az832049.vo.msecnd.net/media/1567/f9-contingency-plan-for-extended-tarmac-delays-2015.pdf.
     Frontier's Contingency Plan for Lengthy Tarmac Delays is subject to change without notice and is not part of
     this Contract of Carriage.


Failure to Operate on Schedule or Failure to Carry                                                        Pg. 20 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 85
                                        of 89



CONTRACT OF CARRIAGE                                                                               Rev74 05/14/20


19. Denied Boarding Compensation
 When a seat cannot be provided due to an inadequate number of seats for the number of passengers holding
 confirmed reservations (overbooking), the actions described in this section will be taken.
  A. Voluntary -- Passengers on a flight with an overbooking will be encouraged to voluntarily relinquish their seats
     in exchange for alternate travel and for compensation in the form of an Electronic Travel Certificate for future
     transportation within 90 days on Frontier. The request and selection of volunteers will be in a manner
     determined solely by Frontier.
  B. Involuntary -- If insufficient passengers volunteer, passengers who check in after all seats have been
     assigned will be denied boarding and Frontier will provide transportation on Frontier’s flights to the same
     destination.
  C. Amount of Compensation -- Frontier will compensate a passenger for involuntary-denied boarding based on
     the new arrival time after the originally scheduled arrival time as follows:


                 Domestic                           International                           Compensation
     New arrival time within :59          New arrival time within :59          No Compensation
     New arrival time within 1 - 1:59     New arrival time within 1 - 3:59     200% (2x) of the one-way fare, not to
                                                                               exceed $675
     New arrival time 2 hours or more     New arrival time 4 hours or more     400% (4x) of the one-way fare, not to
                                                                               exceed $1350


       NOTE 1:      Frontier will not provide compensation for denied boarding when an aircraft of lesser capacity
                    is substituted due to operational or safety reasons.
       NOTE 2:      No compensation will be due if boarding is denied for reasons other than overbooking, e.g.,
                    pursuant to applicable law or other provisions of this Contract of Carriage.
  D. Onward Transportation for Passengers Denied Boarding
     1) A passenger denied boarding, voluntarily or involuntarily, pursuant to this section, will be transported on
        Frontier’s next available flight on which space is available and at no additional charge.
     2) If a passenger who has been denied boarding, voluntarily or involuntarily, pursuant to this section, wishes
        to modify the travel date, if space is available, a ticket will be provided for travel within 72 hours at no
        additional charge.
  E. Electronic Travel Certificates - Frontier may offer passengers denied boarding involuntarily an Electronic Travel
     Voucher good for transportation on Frontier in lieu of cash compensation otherwise due under this section.
     Passengers may decline such offer in favor of the applicable cash compensation. The Electronic Travel
     Certificate has no refund value, will expire 90 days from date of issuance, is not transferable and may only
     be used to purchase tickets for the passenger to whom it is issued. Only one Electronic Travel Certificate may
     be used per ticket at the time of purchase. Electronic Travel Certificates may not be applied to ancillary fees
     and charges, e.g., seat fees, baggage fees, etc., applied to group travel, or combined with other offers. If a
     ticket purchased with an Electronic Travel Certificate costs less than the amount of the certificate, no residual
     value remains. Changes to a ticket purchased with an Electronic Travel Certificate may result in a change fee
     and any additional fare difference based on the rules of the issued ticket.
  F. Time of Offer and Payment of Compensation

Pg. 21 of 24                                                                       Denied Boarding Compensation
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 86
                                    of 89



CONTRACT OF CARRIAGE                                                                              Rev74 05/14/20

     1) The offer of compensation for overbooking will be made by Frontier on the day and at the place where the
        failure to provide confirmed space occurred. If accepted, compensation will be given to the passenger. If
        the alternative transportation arranged for the passenger's convenience departs before the payment can
        be made, payment will be made by mail or other means within 24 hours after the denied boarding occurs.
     2) Acceptance of any Denied Boarding Compensation constitutes full compensation for damages incurred
        by the passenger as a result of Frontier's failure to provide the passenger with a confirmed seat.

20. Refunds; No-Show Cancellations and Service Charges

  A. The provisions of this Section (20.A) shall apply with respect to refunds for tickets under this Contract of
     Carriage:
     1) All refunds will be subject to government laws, rules, regulations, or orders of the country in which the
        ticket was originally purchased and of the country in which the refund is being made.
     2) The first portion of any amount refunded will be the full amount of taxes and fees imposed on the ticket
        purchase.
     3) If applicable, cancellation fees or service charges will be assessed in a separate transaction and netted
        against the refunded amount.
     4) No Use - If no portion of the ticket has been used, the refund amount will be equal to the fare, plus any
        ancillary purchases (checked or carry-on bag, seat assignments, etc.) and all charges, taxes and fees paid
        for the ticket issued to the passenger.
     5) Partial use - If a portion of the ticket has been used:
         a) One-way ticket: If travel was terminated at an intermediate or stopover point, the refund amount will
            be equal to the amount of the fare and all ancillary purchases (checked or carry-on bag, seat
            assignments, etc.) paid from the point of termination to the destination or to the point at which
            transportation is to resume and will be the lowest one-way fare for the class of service paid for minus
            any discount, plus all charges, taxes and fees proportionately attributable, which shall be reasonably
            determined by Frontier.
         b) Round-trip ticket purchased: the refund amount will be equal to the amount of the fare and ancillary
            purchases (checked or carry-on bag, seat assignments, etc.) paid on the unused portion of the ticket,
            plus all charges, taxes and fees proportionately attributable, which shall be reasonably determined
            by Frontier.
  B. In addition to the provisions of Section 20.A, in situations other than No-Show Cancellations, the provisions
     of this Section (20.B) shall apply with respect to refunds for tickets under this Contract of Carriage:
     1) For refundable tickets that are canceled prior to flight departure, passengers should fill out an online
        request, available at www.FlyFrontier.com.
     2) For tickets that are canceled up to 24 hours after the time of purchase (excluding tickets purchased within
        seven days before travel, which will be held as a credit, subject to a cancellation fee), passengers should
        cancel their tickets online at www.FlyFrontier.com.




Refunds; No-Show Cancellations and Service Charges                                                     Pg. 22 of 24
    Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 87
                                        of 89



CONTRACT OF CARRIAGE                                                                                Rev74 05/14/20

     3) Payment - A refund will be provided only to the original purchaser's form of payment. However, if, at the
        time of the application for refund, evidence is submitted that a company purchased the ticket on behalf
        of its employee or a travel agency has made a refund to its client, the refund will be made directly to the
        employee's company or the travel agency. The Table below illustrates other rules respecting payment:

   Payment Type                                Refunded To
   Universal Air Travel Plan                   The subscriber against whose account the ticket was charged
   Transportation Request issued by a         The government agency that issued the transportation request
   government agency other than a U.S.
   government agency
   U.S. Government Transportation             The U.S. government agency that issued the U.S. Government
   Request                                    Transportation Request with a check payable to the “Treasurer
                                              of the United States”
   Credit Card                                 The account of the person to whom the credit card was issued
   Travel Voucher                             The original voucher will be reinstated if the cancellation is within
                                              90 days of the voucher issue date

     4) Identity - Frontier does not assume responsibility to confirm that the person using or presenting a ticket
        for refund is the true owner of the ticket.
  C. In situations involving a No-Show Cancellation, in addition to the provisions of Section 20.A, the provisions of
     this Section (20.C) shall apply with respect to refunds for tickets under this Contract of Carriage.
     1) Automatic Refund; No Additional Submission Required – In the case of a No-Show Cancellation, the
        refund described in Section 20.A shall be automatically refunded to the purchaser.
     2) Automatic Imposition of a No-Show Cancellation Service Charge.
         a) Refund – The refund described in Section 20.A shall be given, but will be netted against the No-Show
            Cancellation Service Charge in a separate transaction.
         b) Imposition of a No-Show Cancellation Service Charge – A No-Show Cancellation Service Charge will
            apply with respect to the ticket (or the segment for which the No-Show Cancellation applies) in the
            amount of the fare plus all ancillary purchases plus all charges, taxes and fees attributable to the fare
            and ancillary purchases.
         c) The payment of the No-Show Cancellation Service Charge shall not entitle the purchaser (and, if
            different, the passenger or other party to whom a refund would otherwise be due) to transportation.
  D. To the extent required by applicable law, including Code § 6415(a) and the regulations promulgated
     thereunder, the purchaser (and, if different, the passenger or other party to whom a refund would otherwise
     be due) hereby consents to Frontier recovering any allowance of a credit or refund of any overpayment of
     governmental fees or tax imposed, including pursuant to Code § 4261, including in each case which
     overpayment arises directly or indirectly as a result of a No-Show Cancellation as contemplated in this
     Contract of Carriage.




Pg. 23 of 24                                               Refunds; No-Show Cancellations and Service Charges
Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 88
                                    of 89



CONTRACT OF CARRIAGE                                                                                 Rev74 05/14/20

21. Currency and Mode of Payment and Fees

  A. Fares, fees, charges, and taxes charged or collected by Frontier are due in United States dollars, except for
     bookings made through available Canadian online travel sites, which are due in Canadian dollars. Any
     purchases made in connection with such bookings would also be due in Canadian dollars.
  B. All amounts due to Frontier must be paid with a credit card. Frontier does not accept cash for any
     transactions, including those on Frontier's aircraft.
  C. Frontier does not accept personal checks, traveler's checks, certified (cashier's) checks, or money orders.
  D. A service charge will apply to any improper chargeback on a credit card and may be charged to the same
     credit card via which the chargeback is made.

22. Miscellaneous

  A. Subordination to Law - In all cases, this Contract of Carriage will be subordinate to any applicable law.
  B. Metric References - Conversion of British units to metric units are approximate and for reference only. The
     British unit will apply.
  C. Change Without Notice - Except as may be required by applicable laws, government regulations, orders, and
     requirements, Frontier reserves the right to amend this Contract of Carriage without notice, provided that no
     such change shall apply to carriage that has commenced.
  D. No Waiver/Modification of Terms - No employee or agent of Frontier has the authority to waive, modify, or alter
     any provisions of the Contract of Carriage unless authorized by a corporate officer of Frontier.
     Accommodations provided beyond what is required by the Contract of Carriage do not alter the Contract of
     Carriage. Frontier's employees and agents, including third party travel agents and online travel sites, are only
     authorized to sell tickets for air transportation on Frontier subject to the Contract of Carriage.
  E. Changes in Rules, Fares, and Charges - Unless otherwise provided within specific fare rules, transportation
     is subject to the rules, fares and charges in effect on the date a ticket is issued, determined by the validation
     stamped or imprinted on the ticket, or valid electronic ticket.
  F. Taxes and Charges - When the ticket is issued for the effective date, all government, airport, vendor, or other
     charges that apply to passenger travel into foreign countries are the responsibility of the passenger to whom
     the ticket was originally issued and are in addition to the published fare and charges.
  G. Fares/Charges - Specific fares and charges information is available through Frontier reservations offices and
     at www.FlyFrontier.com.
  H. No Class Action - Any case brought pursuant to this Contract of Carriage, Frontier’s Tarmac Delay Plan, or
     Frontier’s Customer Service Plan may be brought in a party's individual capacity and not as a plaintiff or class
     member in any purported class or representative proceeding.
  I. Time Limit for Action - No legal action may be brought by a passenger against Frontier unless commenced
     within 6 months from the date of the alleged incident.
  J. Choice of Law - This Contract of Carriage will be governed by and construed in accordance with the laws of
     the United States of America and the State of Colorado without regard to conflict of law principles or law. All
     right to trial by jury in any action, proceeding or counterclaim arising out of or in connection with this Contract
     of Carriage is irrevocably waived.
  K. Codeshare Flights – Except for baggage policies (see section 12. , section 13. , and section 15. ), the policies,
     rules, and procedures of the operating airline will apply on any codeshare flight.
Currency and Mode of Payment and Fees                                                                     Pg. 24 of 24
   Case No. 1:20-cv-01153-PAB-KLM Document 96-1 filed 10/11/21 USDC Colorado pg 89
                                       of 89
                                                                                     REVISION FILING
                                                                                INSTRUCTIONS / HIGHLIGHTS

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      REVISION NUMBER:          _ 74 _
      REVISION DATE:            05/14/20
  Instructions for paper manuals:                               For an online version of Contract of Carriage, click here.
  1. Insert the attached revision as instructed below.
       o Pages to be removed are listed in the left-hand column. A horizontal line in this column means no pages are to be removed.
       o Pages to be inserted are listed in the middle column. A horizontal line in this column means no pages are to be inserted.
       o A description of the revision is found in the right-hand column.
  2. Fill in the Revision Date, Date Posted, and Posted By fields on the Record of Revisions page.
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REMOVE PAGES          INSERT PAGES                                          REVISION HIGHLIGHTS                     Page 1 of 1
                                             Changes made per PCR 20-226
00.00 Pg. 3         00.00 Pg. 3           List of Effective Pages – Updated

Pgs. 1-24           Pgs. 1-24             Updated:
                                          Table of Contents
                                          3. Refusal to Transport and Special Conditions
